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                        EXHIBIT B
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                                  BETA Risk Management Authority("BETARMA")
                                                           A Public Entity

                                              CERTIFICATE OF PARTICIPATION
                      HEALTHCARE ENTITY COMPREHENSIVE LIABILITY COVERAGE CONTRACT

                                                                                                       CERTIFICATE NUMBER:
PRODUCER: Chivaroli & Associates, Inc Attn: Mary Winterburn                                                     HCL-17-807


    ITEM 1: NAMED MEMBER:
            University of Southern California
            3434 South Grand Avenue, CAL 120
            Los Angeles, CA 90089
    ITEM 2: SUBSIDIARIES:
            See Amendment H374
    ITEM 3: CONTRACT PERIOD:
            (a) Effective Date: 07/01/17 (b) Expiration Date: 07/01/18 at 12:01 a.m. local time for all dates
            at the address in Item 1
    ITEM 4: RETROACTIVE DATE FOR PROFESSIONAL LIABILITY:
            09/01/86 at 12:01 a.m. local time for all dates at the address in Item 1

    ITEM 5: COVERAGE AND LIMITS OF LIABILITY PROVIDED:
            $20,000,000 per Claim (except as provided by Amendment)
            $30,000,000 in the Aggregate
            (Coverages provided are indicated with an "X")
               Professional Liability
                   Healthcare Entity Professional Liability - Claims Made
               General Liability
                 Bodily Injury and Property Damage Liability - Occurrence
                 Personal Injury, Advertising Injury and Discrimination Liability - Occurrence
                 Employee Benefits Liability - Occurrence

    ITEM 6: DEDUCTIBLE: See Section 7.9.B
            $250,000 Indemnity & Expense Per Claim / $4,500,000 Annual Aggregate
    ITEM 7: CONTRIBUTION: See Section 7.9.A

    ITEM 8: CONTRACT AND AMENDMENT FORMS ATTACHED AT ISSUANCE: HCL (07/15)
            H120 H130 H201 H216 H236 H237 H300 H303 H305 H309 H310 H311 H312 H313 H314 H315
            H320 H336 H337 H346 H362 H363 H364 H373 H374 H381 H386 H432 H437 H438 H441 H444
            H447 H452
    ITEM 9: NOTICE REQUIRED TO BE GIVEN TO BETARMA MUST BE ADDRESSED TO:
            BETA Risk Management Authority
            1443 Danville Boulevard
            Alamo, CA 94507

 This Certificate of Participation, the Application(s) and accompanying documents, and the Coverage Contract with Amendments
 shall constitute the Contract between BETARMA and the Members.




                                                                                         Authorized Representative of BETARMA

BETA C.O.P.                                                                                              Date Issued: July 01, 2017 (Initial)
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                    BETA RISK MANAGEMENT AUTHORITY




                  HEALTHCARE ENTITY COMPREHENSIVE LIABILITY
                            COVERAGE CONTRACT




                                            IMPORTANT

THIS IS A NON-ASSESSABLE COVERAGE CONTRACT THAT INCLUDES MULTIPLE COVERAGE SECTIONS. SOME ARE
PROVIDED ON A “CLAIMS MADE AND REPORTED” BASIS, AND OTHERS ARE PROVIDED ON AN “OCCURRENCE” BASIS.
THIS COVERAGE CONTRACT REQUIRES ARBITRATION OF DISPUTES WITH BETARMA. PLEASE REVIEW THE ENTIRE
CONTRACT CAREFULLY.




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                                       IMPORTANT NOTICES

This Contract affords four basic coverages in Sections 2 through 5 below. The coverages include
professional liability coverage (in Section 2) that applies to only those Claims first made against
the Member during the Contract Period and reported in writing to BETA Risk Management
Authority (“BETARMA”) as soon as possible but in no event later than thirty (30) calendar days
after the termination of the Contract Period. This coverage provides no protection or defense for
acts, errors, omissions that occurred prior to the Retroactive Date set forth on the Certificate of
Participation (the “Certificate") or after the Expiration Date. Unlike the professional liability
coverage in Section 2, the general liability coverages in Section 3, 4, and 5 apply on an
“Occurrence” basis to Occurrences, offenses and negligent acts, errors or omissions that take
place during the Contract Period. PLEASE READ EACH COVERAGE SECTION CAREFULLY AND
DISCUSS THE CONTRACT WITH YOUR ATTORNEY, INSURANCE ADVISOR OR BROKER.

BETARMA is a California Joint Powers Authority formed to pool self-insured claims and losses among
public entities and nonprofit organizations providing healthcare services as authorized by California
Government Code Sections 990.4(a), 990.8(c) and 6527 and subject to the provisions of Section 991.2.
BETARMA is not subject to regulation as an insurer. As a public agency, it will, for example, be guided by
Laws v. County of San Diego (1990) 219 Cal.App.3d 189, rather than San Diego Federal Credit Union v.
Cumis Ins. Society (1984) 162 Cal.App.3d 385, when deciding whether to engage or provide
reimbursement for independent defense counsel. This Contract is not an insurance policy. The Named
Member must be a member in good standing in BETARMA to participate in the Group Self-Insurance
Program. The Named Member pays, when due, Contributions to BETARMA. In return, BETARMA provides
healthcare entity professional liability and general liability protection under this agreement. However, the
Contract includes limitations, restrictions and exclusions. In other words, this agreement does not protect
against all risks associated with your activities.

This Contract is an agreement arrived at by mutual negotiation among and consent of the members of
BETARMA and approved by the BETA Council. The Contract is intended to be interpreted in accordance
with the usual rules of contract law. Because, among other reasons, this Contract was negotiated at arm’s
length by parties of approximately equal bargaining power, any ambiguities that may be found are to be
interpreted in an even-handed fashion in the manner most consistent with the relevant terms, conditions,
and exclusions of the Contract. You should read this agreement carefully to determine the extent of the
protection provided. This Contract sets forth the four basic coverages in Sections 2 through 5. Section 6
sets forth the exclusions. Section 7 sets forth common provisions that apply to the coverages.
Amendments further expand or limit the coverages afforded. You must read the entire Contract, including
the amendments and the Certificate, carefully in order to understand your and BETARMA’S obligations.
Words or terms that are in bold print have a special meaning that is set forth in the Definitions section,
Section 1. These definitions limit the protection this Contract provides.

Any disputes with BETARMA under this Contract that cannot be resolved must be arbitrated as set
forth in Section 7. By accepting this Contract, you and BETARMA are agreeing to give up the right
to court remedies, including a jury trial. Except as provided by law, the Arbitrators' ruling will be
final and binding on the parties, and rights of appeal are strictly limited.

This Contract affords Pollution Liability and Asbestos Liability Coverage by amendment on a
claims-made-and-reported basis. Coverage for Pollution Liability and Asbestos Liability is limited
to liability only for those Claims that are first made during the Contract Period and reported to
BETARMA in writing as soon as possible but in no event later than thirty (30) calendar days after
the Contract Expiration Date. Amounts incurred for Defense Expenses for such Claims are
included within the Pollution Liability and Asbestos Liability Coverage Limits of Liability.
Pollution Liability and Asbestos Liability Coverage is limited to Occurrences that take place after
the Retroactive Dates specified in the amendments. The Pollution Liability and Asbestos Liability
Coverage Limits of Liability are reduced by amounts incurred for Defense Expenses. There may
also be applicable Deductibles that the Member must pay before BETARMA is obligated to pay any
sum, including Defense Expenses.



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                HEALTHCARE ENTITY COMPREHENSIVE LIABILITY COVERAGE CONTRACT

This Healthcare Entity Comprehensive Liability Coverage Contract comprises the following:
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BETARMA and all Members, subject to all of the terms, conditions and limitations of this Contract, agree
as follows:

                                      SECTION 1 – DEFINITIONS

1. Advertising Injury means injury arising out of one or more of the following offenses in the advertising
   of the Named Member's or Subsidiary's work or products:

     A. oral or written publication of material that slanders or libels a person or organization;

     B. oral or written publication of materials that disparages a person's or organization's goods,
        products or services;

     C. oral or written publication of material that violates an individual's right of privacy;

     D. unauthorized taking of advertising ideas or style of business; or

     E. infringement of copyright, trade dress or slogan.

2. Automobile means a motor vehicle, trailer or semi trailer designed for travel on public roads,
   including any attached equipment or machinery, but Automobile does not include Mobile
   Equipment.

3. Bodily Injury means bodily injury, sickness or disease sustained by a person, including death
   resulting from any of these at any time. Bodily Injury includes mental anguish, mental injury or
   shock sustained by that person as a result of such bodily injury, sickness or disease.

     For purposes of Section 2 only, Bodily Injury includes a bystander's mental anguish, mental injury,
     shock, fright or death resulting from physical injury, sickness or disease of another.

4. Certified Act of Terrorism means a Certified Act of Terrorism, as defined under the federal
   Terrorism Risk Insurance Act of 2002 or as it may be amended from time to time.

5. Claim means a:

     A. A written demand for damages, including:

          (1) service of suit or institution of arbitration proceedings against a Member; or

          (2) a demand made under an applicable claim statute, signed by or on behalf of one alleged to
              have been damaged by a Member.

     B. Written notice to BETARMA of specific circumstances involving injury to a particular person or
        organization that may reasonably be expected to give rise to a Claim against a Member,
        provided the Member becomes aware during the Contract Period of an act, error or omission
        that may reasonably be expected to give rise to a Claim against a Member to which Section 2-
        Healthcare Entity Professional Liability applies, and the Member reports to BETARMA in writing
        the names of any injured parties, witnesses, the manner in which the Member first became aware
        of the act, error or omission. Any Claim subsequently arising from such reported act, error or
        omission, shall be deemed to be a Claim made during the Contract Period in which the act,
        error or omission was first duly reported to BETARMA.

     For purposes of Section 2.2, Claim also means a writ of administrative mandamus under Section
     1094.5 of the California Code of Civil Procedure.

     Internal incident reports sent to BETARMA and trending reports, quarterly claim reports and other data
     collection reports shall not be considered a Claim.


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     Two or more Claims arising out of a single Occurrence or an act, error, omission or offense or a
     series of related Occurrences, acts, errors, omissions or offenses shall be treated as a single Claim.
     Occurrences, acts, errors, omissions and offenses are related if they share a causal connection or
     have as a common nexus any event or transaction or series of events or transactions. When two or
     more Claims are treated as a single Claim, the single Claim shall be considered first made when the
     earliest of the Claims is first made.

     However, no Claim shall be deemed first made during the Contract Period if:

     C. the Claim or incident was reported before the Effective Date of this Contract to BETARMA or to
        any liability insurer; or

     D. any Member had knowledge prior to the Effective Date of facts or circumstances that would
        cause a reasonable person to believe that a Claim might be made.

6. Claimant means the person or entity who asserts a Claim.

7. Contract Period means the time period from the Effective Date to the Expiration Date, as specified in
   the Certificate, or to any earlier termination date, and not including any extended reporting period.

8. Covered Location means:

     A. any location identified in the Certificate or by amendment; or

     B. any location in the state of California, newly owned, occupied, rented, used or controlled by the
        Named Member or a Subsidiary; however:

          (1) coverage is afforded only until the thirtieth (30th) calendar day after possession begins or the
              end of the Contract Period, whichever is earlier; and

          (2) coverage will be extended beyond the thirtieth (30th) calendar day only upon the Named
              Member’s or Subsidiary’s submission of such underwriting information as may be required
              by BETARMA, BETARMA’S issuance of an amendment extending coverage at the location, and
              timely payment of the Contribution specified by BETARMA.

9. Defense Expenses includes the following expenses resulting from the investigation, adjustment,
   defense and appeal of a covered Claim, if incurred by BETARMA or by the Member with the prior
   written consent of BETARMA:

     A. fees, costs and expenses charged by an attorney or other person or organization designated by
        BETARMA; and

     B. all other fees, costs and expenses, including, but not limited to, expenses incurred by
        independent contractors or vendors.

     Defense Expenses does not include salaries or expenses of the Member's or BETARMA’S employees
     or officials, or the Member's unpaid patient or other bills.

10. Economic Damages means financial loss and does not include damages arising from Bodily Injury
    or Property Damage.

11. Employee Benefit Program means group or individual life insurance, accident and health insurance,
    profit sharing or savings plan, pension or retirement plan, salary reduction or deferral plan, employee
    stock subscription plan, workers' compensation, unemployment insurance, social security and
    disability benefits plan or insurance, plan to pay medical, dental, vision or drug claims, or any other
    similar plan provided, in whole or part, or administered by the Named Member for its employee(s)
    and their dependents.

12. Employment Practices Liability means:

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     A. any actual or alleged act or omission by any Member related to the employment of the Claimant,
        including, but not limited to, recruiting, interviewing, hiring, declining to hire, assigning,
        reassigning, granting or placing on leave, performance reviews, promotion, training, transfer,
        disciplinary action, demotion, supervision, layoff and termination of the Claimant as an employee
        or as an independent contractor;

     B. any actual or alleged acts of wrongful discharge, unlawful discrimination or harassment in
        employment, and any other act or omission prohibited by any statute regulating employment
        practices;

     C. any actual or alleged Retaliation; or

     D. any actual or alleged Advertising Injury or Personal Injury alleged or suffered by any employee
        or former employee of the Named Member or a Subsidiary.

     However, "Employment Practices Liability" does not include any actual or alleged act or omission
     by any Member related to any Employee Benefit Program.

13. Fungi means any type or forms of fungus, including mold or mildew and any mycotoxins, spores,
    scents or byproducts produced or released by Fungi.

14. Hazardous Properties includes radioactive, toxic or explosive properties.

15. Member means a person or entity identified in Section 7.1 or to whom coverage is extended under
    Section 7.2.

16. Mobile Equipment means any of the following types of land vehicles, including any attached
    equipment or machinery:

     A. bulldozers, farm machinery, forklifts and other vehicles designed for use principally off public
        roads;

     B. vehicles maintained for use solely on or next to premises the Named Member or Subsidiary
        owns or rents;

     C. vehicles that travel on crawler treads;

     D. vehicles, whether self-propelled or not, maintained primarily to provide mobility to permanently
        mounted:

          (1) power cranes, shovels, loaders, diggers or drills; or

          (2) road construction or resurfacing equipment such as graders, scrapers or rollers;

     E. vehicles not described in clauses A, B, C, or D above that are not self-propelled and are
        maintained primarily to provide mobility to permanently attached equipment of the following types:

          (1) air compressors, pumps and generators, including spraying, welding, building cleaning,
              geophysical exploration, lighting and well servicing equipment; or

          (2) cherry pickers and similar devices used to raise or lower workers;

     F. vehicles not described in clauses A, B, C, or D above maintained primarily for purposes other
        than the transportation of persons or cargo.

     However, self-propelled vehicles with the following types of permanently attached equipment are not
     Mobile Equipment, but will be considered Automobiles:

          (1) equipment designed primarily for:

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              a. snow removal;

              b. road maintenance, but not construction or resurfacing;

              c.   street cleaning;

          (2) cherry pickers and similar devices mounted on Automobile chassis and used to raise or
              lower workers;

          (3) air compressors, pumps and generators, including spraying, welding, building cleaning,
              geophysical exploration, lighting and well servicing equipment.

17. Named Member means the organization specified as such in the Certificate.

18. Nuclear Facility means:

     A. any Nuclear Reactor;

     B. any equipment or device designed or used for separating the isotopes of uranium or plutonium,
        processing or utilizing Spent Fuel, or handling, processing or packaging Nuclear Waste;

     C. any equipment or device used for the processing, fabricating or alloying of Nuclear Material if at
        any time the total amount of such material in the Member's custody at the premises where such
        equipment or device is located consists of or contains more than 25 grams of plutonium or
        uranium 233 or any combination thereof, or more than 250 grams of uranium 235; or

     D. any structure, basin, excavation, premises or place prepared or used for the storage or disposal
        of Nuclear Waste, including the site on which any of the foregoing is located, all operations
        conducted on such site and all premises used for such operations.

19. Nuclear Material means Source Material, Special Nuclear Material or By-Product Material, as
    defined under the federal Atomic Energy Act of 1954 or in any amendment thereto.

20. Nuclear Reactor means any apparatus designed or used to sustain nuclear fission in a
    self-supporting chain reaction or to contain a critical mass of fissionable material.

21. Nuclear Waste means any material containing By-Product Material and resulting from the operation
    by any person or organization of any Nuclear Facility.

22. Occurrence means an accident, including continuous or repeated exposure to substantially the same
    general harmful conditions, which is neither expected nor intended by the Member.

23. Personal Information includes any information defined as “individually identifiable health
    information,” “medical information”, “personal information” or “personally identifying information” in the
    Health Insurance Portability and Accountability Act of 1996 or the California Civil Code, as amended
    from time to time, or in any regulations adopted thereunder.

24. Personal Injury means injury arising out of one or more of the following offenses resulting from the
    Named Member's or Subsidiary's business activities:

     A. false arrest, detention or imprisonment;

     B. malicious prosecution;

     C. the wrongful eviction from, wrongful entry into, or invasion of the right of public or private
        occupancy of a room, dwelling or premises that a person occupies by or on behalf of its owner,
        landlord or lessor;

     D. oral or written publication of material that slanders or libels a person or organization or disparages

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          a person's or organization's goods, products or services; or

     E. an invasion that violates a person's right of privacy.

25. Pollutants means any solid, liquid, gaseous or thermal irritant or contaminant, including smoke,
    vapor, soot, fumes, acids, alkalis, chemicals and Waste. Pollutants include indoor Pollutants.

26. Privacy Breach Wrongful Act means: (a) any actual or alleged failure to safeguard or to prevent
    unauthorized access to or use or disclosure of any Personal Information, including any access, use
    or disclosure that exceeds authorization, (b) failure to give notification of an actual or potential
    unauthorized access to, or use or disclosure of, any Personal Information.

27. Product means goods or products manufactured, sold, handled or distributed by the Member.

28. Professional Services means:

     A. medical, surgical, dental or nursing or other healthcare services or treatment to a patient,
        including custodial care and the furnishing of food or beverages in connection with the treatment;

     B. the furnishing or dispensing of drugs, or medical, dental or surgical supplies or appliances to a
        patient if the injury occurs after the Member has relinquished possession thereof;

     C. healthcare research involving a patient, study participant or trial participant, if, before the research
        was commenced, the Named Member or Subsidiary’s Institutional Review Board approved the
        research study or trial;

     D. the handling or performing of post-mortem examinations on human bodies; or

     E. services by any person as a member of the Named Member's or Subsidiary's formal
        accreditation or similar professional board or committee, or as a person charged with the duty of
        executing directives of any such board or committee.

29. Property Damage means:

     A. physical injury to tangible property, including resulting loss of use of that property; or

     B. loss of use of tangible property that is not physically injured.

30. Retroactive Date is the date so specified on the Certificate. The Retroactive Date applies only to
    coverages provided on a claims made and reported basis. No coverage is provided by this Contract
    with regard to any act, error, omission or Occurrence or offense happening prior to the Retroactive
    Date.

31. Spent Fuel means any fuel component, solid or liquid, which has been used or exposed to radiation
    in a Nuclear Reactor.

32. Subsidiary means any of the following:

     A. any corporate, general partnership or limited-liability-company affiliate of the Named Member
        listed as a Subsidiary in the Certificate or an amendment;

     B. any foundation the sole activity of which is to provide financial support to the Named Member; or

     C. any nonprofit corporation affiliated with the Named Member and created pursuant to Section
        32121(p) of the Health and Safety Code to which the Named Member has transferred assets.

33. Supplemental Member means a person or entity to whom coverage is extended under Section 7.2.



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34. Terrorism means a Certified Act of Terrorism or acts of any person or organization against any
    persons, organization or property of any nature:

     A. that involve the following or preparation for the following:

          (1) use or threat of force or violence; or

          (2) commission or threat of a dangerous act; or

          (3) commission or threat of an act that interferes with or disrupts an electronic communication,
              information, or mechanical system; and

     B. when either or both of the following applies:

          (1) the effect is to intimidate or coerce a government or the civilian population or any segment of
              the public, or to disrupt any segment of the economy; or

          (2) it appears that the intent is to influence, intimidate or coerce a government, or any segment of
              the public, or to further political, ideological, religious, social, economic or similar objectives or
              to express (or express opposition to) a philosophy or ideology.

35. Volunteer means any person or group, such as an auxiliary, whose services or labor are
    uncompensated from any source, are accepted or directed by the Named Member or any
    Subsidiary, and who is not a healthcare professional rendering Professional Services which require
    licensing or other certification.

36. Waste includes materials to be disposed of, recycled, reconditioned or reclaimed, including, but not
    limited to, used, expired or disposed of medical and pharmaceutical supplies.




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              SECTION 2 – HEALTHCARE ENTITY PROFESSIONAL LIABILITY
               (This coverage is provided on a claims made and reported basis.)

WHAT BETARMA WILL PAY SUBJECT TO THE EXCLUSIONS IN SECTION 6 AND THE TOTAL
BETARMA WILL PAY IN SECTION 7:

1. BETARMA will pay those sums which the Member is legally required to pay as damages for a Claim
   for Bodily Injury, Property Damage or Economic Damages arising out of the Member's negligence
   in the rendering of, or failure to render, Professional Services:

     A. on or after the Retroactive Date; and

     B. at a Covered Location; and provided that

     C. the Claim is first made against the Member during the Contract Period and is reported in writing
        to BETARMA as soon as possible during the Contract Period but in no event later than thirty (30)
        calendar days after termination of the Contract Period.

2. BETARMA will pay those sums which the Member is legally required to pay as damages for a Claim
   arising from a negligent act, error or omission resulting in actual or alleged denial, suspension,
   revocation, termination or limitation of medical staff privileges, provided that the effective date of the
   first denial, suspension, revocation, termination or limitation of staff privileges that is a basis of the
   Claimant’s Claim occurs on or after the Retroactive Date. This coverage applies only if the Claim
   is first made against the Member during the Contract Period and is reported in writing to BETARMA
   as soon as possible during the Contract Period but in no event later than thirty (30) calendar days
   after termination of the Contract Period. BETARMA will defend, but will not indemnify, a Claim that is
   otherwise covered under this Section, but alleges an intentional act, error or omission.

3. BETARMA will pay those sums which the Member is legally required to pay as damages for a Claim
   arising from reckless neglect within the meaning of the Elder Abuse and Dependent Adult Civil
   Protection Act, California Welfare and Institutions Code, Section 15600, et seq., in the rendering of, or
   failure to render Professional Services on or after the Retroactive Date, at a Covered Location.
   This coverage applies only if the Claim is first made against the Member during the Contract Period
   and is reported in writing to BETARMA as soon as possible during the Contract Period but in no event
   later than thirty (30) calendar days after termination of the Contract Period.

4. BETARMA will pay those sums which the Member is legally required to pay as damages for a Claim
   arising out of the following offenses:

     A. discrimination based upon, without limitation, an individual’s race, ethnicity, ancestry, national
        origin, citizenship, religion, age, sex, sexual orientation or preference, pregnancy, preexisting
        medical condition, physical or mental disability or handicap, insurance status, economic status or
        ability to pay for medical services, and

     B. sexual abuse, assault, battery, harassment or molestation

     if the Claimant’s injury arises out of the Member’s negligence in rendering of, or failure to render,
     Professional Services on or after the Retroactive Date; and at a Covered Location; and provided
     that the Claim is first made against the Member during the Contract Period but in no event later
     than thirty (30) calendar days after termination of the Contract Period.

     BETARMA will defend, but will not indemnify, a Claim that is otherwise covered under this Section, but
     alleges an intentional act or omission.

5. BETARMA has the right and duty to defend any covered Claim brought against the Member. This
   means that BETARMA will pay all reasonable Defense Expenses incurred in defending the Claim.



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6. Only upon the Named Member's or Subsidiary's specific written request, and subject to BETARMA’S
   sole, absolute and unreviewable discretion, BETARMA will pay reasonable Defense Expenses for a
   criminal action or proceeding brought by a law enforcement agency against the Named Member's or
   Subsidiary's employee alleging Bodily Injury or Property Damage caused by an Occurrence on or
   after the Retroactive Date. This provision applies only if:

     A. the criminal action or proceeding is first brought by a law enforcement agency against the Named
        Member’s or Subsidiary's employee or employees during the Contract Period and is reported
        to BETARMA as soon as possible during the Contract Period but in no event later than thirty (30)
        calendar days after the termination of the Contract Period;

     B. the acts or omissions charged:

          (1) occur only in the discharge of the employee's regular duties to the Named Member or
              Subsidiary; and

          (2) arise solely and directly from the care and treatment of patients on the Named Member's or
              Subsidiary's behalf;

     C. the Named Member or Subsidiary determines that the Named Member's or Subsidiary's
        defense of the criminal action or proceeding would be in the best interests of the Named Member
        or Subsidiary and that the employee acted, or failed to act, in good faith, without actual malice
        and in the apparent interests of the Named Member or Subsidiary; and

     D. such payment of Defense Expenses is permitted by law.




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                                     SECTION 6 – EXCLUSIONS

WHAT BETARMA WILL NOT COVER:

EXCEPT AS OTHERWISE PROVIDED BELOW, THESE EXCLUSIONS APPLY REGARDLESS OF
WHETHER ANY OTHER CAUSE, ACT, ERROR, OMISSION, EVENT, MATERIAL OR PRODUCT
CONTRIBUTES CONCURRENTLY OR IN ANY SEQUENCE TO A CLAIMANT’S INJURY OR
DAMAGE.

EXCLUSIONS THAT APPLY TO ALL COVERAGE SECTIONS

1. This Contract does not apply to any Claim for damages arising out of the breach of any contract or
   agreement or liability assumed by the Member under any contract or agreement, except that:

     A. this exclusion does not apply under Sections 2 and 3 as respects the Member's warranty of
        goods and Products, whether expressed or implied;

     B. this exclusion does not apply under Sections 2, 3 and 4 for liability arising out of a written
        agreement entered into before the Occurrence or offense under which the Member assumed the
        tort liability of others for injury to a third person or entity caused by the Member's negligence or
        other fault; and

     C. this exclusion does not apply under Sections 2, 3 and 4 for liability the Member would have had
        in the absence of the contract or agreement.

     Coverage is not provided for any liability resulting from guaranteeing the results of treatment.

2. This Contract does not apply to any Claim for or arising out of Bodily Injury (a) to any employee
   arising out of and in the course of that person's employment by any Member, or (b) to any Volunteer
   arising out of and in the course of that person's provision of services for any Member. However,
   clause (b) shall not apply if such Claim is not covered under any workers' compensation insurance
   policy or self-insurance program.

3. This Contract does not apply to any Claim for which the Member or any of the Member's insurance
   carriers may be held liable under any workers' compensation, unemployment compensation or
   disability benefits law, or under any similar law or any administrative interpretation of such laws.

4. This Contract does not apply to any liability of any person or entity:

     A. acting as an independent contractor for any Member or on any Member's behalf, except as
        provided in Section 7 or by amendment; or

     B. hired or employed by or on behalf of a patient.

5. This Contract does not apply to any injury that is expected or intended by the Member. This
   exclusion does not apply to Bodily Injury resulting from the use of reasonable force to protect
   persons or property.

6. Except for the defense of criminal charges as provided in Section 2.6, this Contract does not apply to
   any Claim arising from or brought about or contributed to by the Member's dishonest, fraudulent,
   criminal or malicious acts or omissions, or to acts or omissions that an insurer could not indemnify
   under California Insurance Code Section 533.

7. This Contract does not apply to any Claim based, in whole or in part or directly or indirectly, on,
   attributable to, arising out of, resulting from, or in any way related to any actual or alleged violation of
   the Employment Retirement Income Security Act of 1974, 29 U.S.C. §1001, et seq., or similar
   provisions of any federal, state or other statutory or common law or rule or regulation, including but


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     not limited to the Pension Trusts provisions of the California Government Code, Section 53215, et
     seq., all as they may be amended from time to time.

8. BETARMA shall have no duty under this Contract to defend or indemnify any Claim alleging
   Employment Practices Liability. Notwithstanding any other provision of this Contract, if a Claim
   includes allegations that are potentially covered by this Contract and also Employment Practices
   Liability allegations and the Named Member does not participate in the Employment Practices
   Liability coverage offered by BETARMA’S Directors, Officers and Trustees Liability Coverage Contract
   including Healthcare Entity Coverage, the Named Member, and not BETARMA, shall be responsible
   for Defense Expenses on account of defending the Employment Practices Liability portion of the
   Claim. If the Named Member does not have Employment Practices Liability insurance coverage,
   BETARMA shall have the right but not the duty to defend the Employment Practices Liability portion
   of the Claim, subject to the Named Member’s obligation to pay all Defense Expenses on account of
   defending the Employment Practices Liability portion of the Claim. The Named Member and
   BETARMA shall use their best efforts to agree upon a fair and reasonable allocation of the share of
   Defense Expenses that each shall bear. Until the respective shares of the Named Member and
   BETARMA are determined, BETARMA shall make interim payments of all Defense Expenses, subject
   to the Named Member’s obligation to reimburse BETARMA for the Named Member’s portion.

9. This Contract does not apply to any Claim based, in whole or in part or directly or indirectly, on,
   attributable to, arising out of, resulting from, or in any way related to any actual or alleged violation of
   any federal, state or other statutory or common law (including but not limited to the Cartwright Act,
   California Business & Professions Code § 16600, et. seq., the Unfair Practices Act, Business &
   Professions Code § 17000, et. seq. and the Unfair Competition Act of the State of California,
   Business & Professions Code §§ 17200, et. seq. and 17500, et. seq and Title 15 of the United States
   Code, all as they may be amended from time to time) that prohibits the unlawful restraint of trade,
   business or profession, except any liability arising from actions brought against the Member by any
   person or persons alleging the improper or unlawful denial or restriction of medical staff privileges or
   alleging the Member's failure to act upon any application for such privileges.

10. This Contract does not apply to any Claim based, in whole or in part or directly or indirectly on,
    attributable to, arising out of, resulting from, or in any way related to any actual or alleged violation of
    the Securities Act of 1933, the Securities Exchange Act of 1934, any rules or regulations of the
    Securities and Exchange Commission adopted thereunder, similar provisions of any federal, state or
    other statute regulating securities, all as they may be amended from time to time, any rules or
    regulations adopted pursuant thereto, or any other law, including common law, relating to securities.

11. This Contract does not apply to any Claim against an individual Member alleging, directly or
    indirectly or in whole or in part, that he or she committed sexual harassment or sexual abuse, assault,
    battery or molestation, unless:

     A. the Named Member or Subsidiary has first entered into an agreement with the individual
        Member reserving the rights of the Named Member or Subsidiary not to pay any judgment,
        compromise or settlement until it is established that: (a) the alleged injury arose out of an act or
        omission occurring within the scope of his or her duties to the Named Member or Subsidiary,
        and (b) the individual Member did not act because of fraud, corruption or actual malice; or

     B. before undertaking to defend or indemnify the individual Member, the Named Member or
        Subsidiary has first determined, in good faith, that: (a) the alleged injury arose out of an act or
        omission occurring within the scope and course of his or her duties to the Named Member or
        Subsidiary, and (b) the individual Member did not act because of fraud, corruption or actual
        malice; and BETARMA concurs with the Named Member's or Subsidiary's determinations.

12. BETARMA will not pay any punitive or exemplary damages, fines, penalties, taxes, trebled damages or
    any other measure of damages exceeding actual compensatory damages.

13. This Contract does not apply to any Claim arising, directly or indirectly, in whole or in part from the
    actual, alleged or threatened inhalation of, ingestion of, contact with, exposure to, existence of, or


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     presence of Fungi or bacteria at or from any premise, site or location, including its contents, which is
     or was at any time owned or occupied by, or rented or loaned to, any Member, regardless of whether
     any other cause, event, material or product contributed concurrently or in any sequence to such injury
     or damage.

     This exclusion does not apply to Section 2 or to any Fungi or bacteria that are, are on, or are
     contained in, a good or product intended for consumption.

14. Except to the extent such coverage is extended by amendment, this Contract does not apply to any
    Claim arising in whole or in part from the actual, alleged or threatened discharge, dispersal, seepage,
    migration, release or escape of Pollutants:

     A. at or from any premises, site or location which is or was at any time owned or occupied by, or
        rented or loaned to, any Member;

     B. at or from any premises, site or location which is or was at any time used by or for any Member
        or others for the handling, storage, disposal, processing or treatment of Waste;

     C. which are or were at any time transported, handled, stored, treated, disposed of, or processed as
        Waste by or for any Member or any person or organization for whom the Member may be legally
        responsible; or

     D. at or from any premises, site or location on which any Member or any contractors or
        subcontractors working directly or indirectly on any Member's behalf are performing operations:

          (1) if the Pollutants are brought on or to the premises, site or location in connection with such
              operations by such Member, contractor or subcontractor; or

          (2) if the operations are to test for, monitor, clean up, remove, contain, treat, detoxify or
              neutralize, or in any way respond to or assess the effects of Pollutants.

          Clause D (1) does not apply to Bodily Injury or Property Damage arising out of the escape of
          fuels, lubricants or other operating fluids which are needed to perform the normal electrical,
          hydraulic or mechanical functions necessary for the operation of Mobile Equipment or its parts, if
          such fuels, lubricants or other operating fluids escape from a vehicle part designed to hold, store
          or receive them. This exception does not apply if the fuels, lubricants or other operating fluids are
          intentionally discharged, dispersed or released, or if such fuels, lubricants or other operating
          fluids are brought on or to the premises, site or location with the intent to be discharged,
          dispersed or released as part of the operations being performed by such Member, contractor or
          subcontractor.

          Clauses A and D(1) do not apply to Bodily Injury or Property Damage arising out of heat,
          smoke or fumes from a hostile fire. A hostile fire means one which becomes uncontrollable or
          breaks out from where it was intended to be.

15. Except to the extent such coverage is extended by amendment, this Contract does not apply to any
    loss, cost or expense arising out of any:

     A. request, demand or order that any Member or others abate, test for, monitor, clean up, remove,
        contain, treat, detoxify or neutralize, remediate, dispose or in any way respond to, or assess the
        effects of Pollutants, Fungi or bacteria; or

     B. Claim or suit by or on behalf of a governmental authority for damages because of testing for,
        monitoring, cleaning up, removing, containing, treating, detoxifying or neutralizing, or in any way
        responding to, or assessing the effects of Pollutants.

16. BETARMA will not pay for equitable remedies or the costs of complying with equitable remedies,
    governmental requests, directives, orders or recommendations. (Examples of equitable remedies


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     include injunctions, restitution, disgorgement, declaratory relief, constructive trust, and rescission,
     reformation or specific performance of a contract.)

17. This Contract does not apply to any Claim that directly or indirectly or in whole or in part arises out of,
    results from, is based on, or alleges ownership, management, operation or control of any Health
    Maintenance Organization (HMO) or Preferred Provider Organization (PPO) or other similar
    organization. However, the exclusion does not apply to the Member’s participation solely as a
    provider of healthcare services to a Health Maintenance Organization (HMO) or Preferred Provider
    Organization (PPO) or similar organization not owned, managed or controlled by a Member.

18. This Contract does not apply to any Claim that directly or indirectly, arises out of, results from, is
    based on or alleges any liability or injury that is in any way connected with the practice of reuse or
    reprocessing of medical devices (sometimes referred to as single-use devices or SUDs) that are
    labeled, designated or intended for one time use. However, BETARMA has the right but not the duty to
    defend such a Claim.

19. This Contract does not apply to any Claim for injury or damage arising out of, attributable to, resulting
    from, or in any way related to directly or indirectly, Telemedicine, if the patient is outside of the state
    of California, or if the Claim or suit is brought outside of the state of California. Telemedicine means
    the use of telecommunication, excluding telephone communications, to provide medical information
    or Professional Services.

20. This Contract does not apply to any Claim arising, directly or indirectly, in whole or in part, out of,
    attributable to, resulting from, or in any way related to:

     A. war, including undeclared or civil war; or

     B. warlike action by a military force, including action in hindering or defending against an actual or
        expected attack, by any government, sovereign or other authority using military personnel or
        other agents; or

     C. insurrection, rebellion, revolution, usurped power, or action taken by governmental authority in
        hindering or defending against any of these; or

     D. the discharge of a nuclear weapon, even if it is accidental; or

     E. Terrorism, including any action taken in hindering or defending against an actual or expected
        incident of Terrorism.

     This exclusion applies regardless of any other cause or event that contributes concurrently or in any
     sequence to the injury or damage.

     However, this exclusion does not apply to a Claim based solely on a Member’s alleged negligence in
     rendering or failing to render Professional Services to a victim of Terrorism or other acts specified
     in Clauses A through D above.

21. This Contract does not apply to any Claim based upon or attributable to or resulting from pricing,
    charges, rates or billing for service or goods, including but not limited to, actual or alleged unfair,
    unreasonable, unlawful or excessive prices, charges, rates or billings.

22. This Contract does not apply to any Claim for actual or alleged injury or damage arising out of,
    attributable to, resulting from, or in any way related to, directly or indirectly, any of the following:

     A. any actual or alleged Professional Services for which the Member does not hold the license or
        certificate required by law at the time and place where the Member renders or fails to render
        such Professional Services. However, this exclusion shall not apply if at that time the Member
        reasonably believed in good faith that the Member possessed the required license or certificate
        and the Member provides documentation satisfactory to BETARMA that substantiates such belief.


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     B. any facility or equipment operated by any Member, or operated pursuant to any contract with any
        Member, for which all licenses and permits required by law have not been secured as of the date
        of the Occurrence (under Section 3), negligent act, error or omission (under Section 2 and 5), or
        offense (under Section 4).

          A license or permit will be deemed to have been secured and held as of the date of the
          application for it, if the application was made prior to the date of such Occurrence, act, error or
          omission, or offense, and such application was granted within sixty (60) calendar days following
          the date of the Occurrence, act, error or omission or offense.

23. Except to the extent such coverage is extended by amendment, this Contract does not apply to any
    Claim that, directly or indirectly or in whole or in part, arises out of any Product developed or created
    through healthcare research conducted by any Member.

24. This Contract does not apply to any damages directly or indirectly arising out of, resulting from or in
    any way related to any Privacy Breach Wrongful Act.

EXCLUSIONS THAT APPLY TO SPECIFIC COVERAGE SECTIONS

25. Sections 2 and 3 of this Contract do not apply to any Claim arising out of any Member’s ownership,
    maintenance, use or entrustment to others of any Automobile, watercraft, helicopter or aircraft or the
    loading or unloading thereof, except for the loading and unloading of patients by a Member. This
    exclusion does not apply to:

     A. Property Damage to Mobile Equipment

     B. Property Damage to an Automobile while it is parked or when being parked on, or on the ways
        immediately next to, premises that the Named Member or Subsidiary owns or rents. Coverage
        for such Property Damage will be provided subject to a deductible of $500 per Occurrence and
        is not subject to Exclusion 26. If a Claim described in this exception includes both Bodily Injury
        and Property Damage, only the highest applicable deductible will apply, unless the Certificate of
        Participation specifies a $0 deductible, in which case a $0 deductible will apply.

     C. Bodily Injury or Property Damage resulting from negligent maintenance of a helipad that the
        Named Member or a Subsidiary owns or leases.

26. Section 2 and 3 of this Contract do not apply to any Claim for Property Damage to any of the
    following:

     A. property any Member owns, rents, occupies, or holds for sale or safekeeping;

     B. property any Member controls, or plans to install, erect or use in construction;

     C. premises any Member sells, gives away or abandons, if the Property Damage arises out of any
        part of those premises;

     D. personal property in any Member's care, custody or control;

     E. that particular part of real property on which any Member, or any contractor or subcontractor
        working directly or indirectly for any Member, is working, if the Property Damage results from
        that work; or

     F. that particular part of any property that must be restored, repaired or replaced because of faulty
        workmanship by any Member or on any Member's behalf.

     Clauses B, D, E and F will not apply to liability for damage to the above property assumed under an
     elevator service agreement. Also, this exclusion does not apply to damage to property of others



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     caused by an elevator on the Named Member's or Subsidiary's premises. However, damage to the
     elevator itself is not covered.

     Clauses B, D, E and F will also not apply to liability for damage to patients' property.

27. Section 3 of this Contract does not cover Bodily Injury or Property Damage arising out of rendering
    or failure to render Professional Services.

28. Sections 2, 3, and 4 of this Contract do not apply to any Bodily Injury or Property Damage resulting
    from the loss of use, recall or withdrawal, adjustment, inspection, repair or replacement, removal or
    disposal of any Member's Product from the market or from use by anyone for any reason.

29. Section 3 of this Contract does not apply to any Bodily Injury or Property Damage with respect to
    which the Member is also an insured under a nuclear energy policy issued by Nuclear Energy
    Liability Insurance Association, Mutual Atomic Energy Liability Underwriters or Nuclear Insurance
    Association of Canada, or any of their successors, or would be an insured under any such policy but
    for its termination upon exhaustion of its limit of liability.

30. Section 3 of this Contract does not apply to any Bodily Injury or Property Damage (including, but
    not limited to, all forms of radioactive contamination of property) caused in whole or in part by the
    Hazardous Properties of Nuclear Material under any of the following circumstances:

     A. if any Member is required to maintain financial protection for nuclear events, or any Member is
        entitled, or would have been entitled had this Contract not been issued, to indemnity for nuclear
        events from the United States of America;

     B. the Nuclear Material is located at, or is discharged or dispersed from, any Nuclear Facility
        owned or operated by or on behalf of any Member;

     C. the Nuclear Material is contained in Spent Fuel or Nuclear Waste that has at any time been
        possessed, handled, used, processed, stored, transported or disposed of by or on behalf of any
        Member; or

     D. the Bodily Injury or Property Damage arises out of services, materials, parts or equipment any
        Member furnishes in connection with the planning, construction, maintenance, operation or use
        of any Nuclear Facility. If the Nuclear Facility is in the United States of America, its territories
        or possessions or Canada, this clause D applies only to Property Damage to or at the Nuclear
        Facility.

     This exclusion does not apply to liability arising out of the practicing of nuclear medicine and activities
     related to nuclear medicine by the Member.

31. Section 4 of this Contract does not apply to any oral or written publication of false material by the
    Member or at the Member's direction with knowledge of its falsity.

32. Section 4 of this Contract does not apply to any Claim for Personal Injury or Advertising Injury if
    the first oral or written publication was made prior to the first date BETARMA provided the Member
    uninterrupted coverage.

33. Section 4 of this Contract does not apply to any Claim for Personal Injury or Advertising Injury
    alleging:

     A. the failure of goods, products or services to conform with advertised quality or performance; or

     B. the false or misleading description of the price of goods, products or services.




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34. Section 4 of this Contract does not apply to any Claim asserted by, on behalf of, with the assistance
    of or at the behest of any of the following persons or organizations: the Named Member, a
    Subsidiary, or any present or former director, trustee, officer, administrator, manager, department
    head, employee, Volunteer or member of a committee of the Named Member or a Subsidiary.

35. Section 4 of this Contract does not apply to any Claim for Personal Injury or Advertising Injury if
    the Named Member or any Subsidiary is in the business of advertising, broadcasting, publishing or
    telecasting.

36. Section 3 and 4.2 of this Contract do not apply to: (a) a denial, suspension, revocation, termination or
    limitation of medical staff privileges, or (b) any Claim by a patient, resident of a Member’s facility or a
    person seeking care or treatment. However, clause (b) does not apply to sexual abuse, assault,
    battery, harassment, or molestation if the alleged perpetrator is a visitor, vendor, custodian, security
    guard or a person not covered by BETARMA and the incident is not directly related to the rendering or
    failure to render Professional Services.

37. Section 5 of this Contract does not apply to any Claim:

     A. based in whole or in part on the termination of any Employee Benefit Program;

     B. alleging that a Member gained any personal profit or advantage to which that Member is not
        entitled;

     C. arising out of any Member's liability to return remuneration paid to that Member in violation of
        any law; or

     D. alleging fiduciary liability associated with any Employee Benefit Program.

38. Section 5 of this Contract does not apply to any Claim based upon or attributable to:

     A. investing, reinvesting, purchasing, acquiring, exchanging, selling, managing, handling or holding
        funds, including but not limited to liability under Section 53600.3 of the California Government
        Code;

     B. failure of investments or securities to perform as represented;

     C. advice given to participate or not participate in any Employee Benefit Program;

     D. failure to provide benefits because they are unfunded or not properly funded;

     E. any failure to effect and/or maintain insurance;

     F. any insurance company’s failure to comply with the terms of its contract; or

     G. the insolvency of any insurance company.




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              SECTION 7 – PROVISIONS APPLICABLE TO ALL COVERAGES

1. WHO IS PROTECTED UNDER THIS CONTRACT

     A. The term Member refers to the Named Member and each Subsidiary identified in the Certificate
        or by amendment, and each of the following persons, but only with respect to his or her legal
        liability when acting within the course and scope of his or her duties to the Named Member or
        Subsidiary and only to the extent the Named Member or Subsidiary is permitted or required by
        law to indemnify him or her:

          (1) any member of the board of directors or board of trustees, and any officer, administrator or
              department head of the Named Member or Subsidiary;

          (2) any employee (other than a physician, surgeon, dentist, physician assistant, nurse
              anesthetist, nurse practitioner or nurse midwife) or Volunteer of the Named Member or
              Subsidiary;

          (3) any medical director, but only when performing teaching or administrative duties and not in
              connection with any Direct Patient Care; and

          (4) any member of the Named Member’s or Subsidiary’s medical staff when involved in the
              following, other than in connection with any Direct Patient Care:

              (a) any Supervisory, Evaluation or Instructional Services with respect to employees,
                  trainees or medical staff members or applicants of the Named Member or Subsidiary,
                  including proctoring of any medical staff member or applicant.

              (b) any Supervisory, Evaluation or Instructional Services with respect to residents,
                  paramedics, trainees, members of the medical staff or applicants for medical staff
                  membership or privileges.

              (c) Healthcare research, if before the research was commenced, the Named Member or
                  Subsidiary’s Institutional Review Board approved the research study or trial.

              Coverage will be extended to a physician, surgeon, dentist, physician assistant, nurse
              anesthetist, nurse practitioner or nurse midwife for acts or omissions relating to or in
              connection with Direct Patient Care, including but not limited to healthcare research in
              connection with Direct Patient Care, only upon compliance with the requirements specified
              in Section 7.1.A.(8) below and BETARMA’S issuance of a certificate evidencing such coverage.

              Direct Patient Care includes, but is not limited to, any direct treatment, consultation,
              diagnostic tests or procedures, therapeutic procedures, pathological analysis or reports, or
              any other associated medical or health services.

              Supervisory, Evaluation or Instructional Services means that supervision, evaluation or
              instruction required by the Named Member or Subsidiary or as an obligation of medical staff
              membership and for which the staff physician volunteers or is paid for such services by the
              Named Member or Subsidiary. The fact that the patient may also be obligated to pay for
              Professional Services rendered to the patient in the course of Supervisory, Evaluation or
              Instructional Services shall not reduce the coverage for a medical staff member's service
              solely as a proctor.

          (5) the Named Member's or Subsidiary's employee for any act, error or omission committed by
              a person whom he or she is supervising or proctoring.




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          (6) any person:

              (a) when acting as a member of or unpaid advisor to the Named Member's or a
                  Subsidiary's board or any committee;

              (b) when acting as a member of any committee of the Named Member's or a Subsidiary's
                  medical or professional staff;

              (c) when communicating information (other than legal advice) to the Named Member or a
                  Subsidiary or its medical or professional staff for the purpose of aiding in the evaluation
                  of the qualifications, fitness or character of an applicant for membership or privileges on
                  such medical or professional staff or for purposes of initiating corrective action; or

              (d) charged by the Named Member or a Subsidiary with the duty of acting as a hearing
                  officer or agent of a judicial review committee executing directives of any such board or
                  committee. These individuals are not deemed to be independent contractors for the
                  purpose of this Contract. This provision does not apply to any settlement review panel or
                  arbitration under any insurance or coverage contract.

          (7) any person (other than a physician, surgeon, dentist, physician assistant, nurse anesthetists,
              nurse practitioner or nurse midwife) enrolled as a student in a formal training program offered
              by the Named Member or a Subsidiary or offered by a third party educational institution at a
              Covered Location pursuant to a written agreement with the Named Member or Subsidiary.
              However, coverage shall not apply if the third party educational institution has agreed in
              writing to obtain liability coverage for the students.

          (8) any physician, surgeon, dentist, physician assistant, nurse anesthetist, nurse practitioner or
              nurse midwife ("healthcare professional") who is employed by the Named Member or
              Subsidiary or provides Professional Services to the Named Member or Subsidiary on an
              independent contractor basis, subject, however, to the following:

              (a) the healthcare professional must possess the proper credentials and the Named
                  Member or Subsidiary must have appropriately granted privileges to the healthcare
                  professional, if required at the applicable Covered Location;

              (b) coverage is afforded only until the fifth (5th) calendar day after the healthcare
                  professional's hire date or the effective date of his or her contract with the Named
                  Member or Subsidiary or the termination of the Contract Period, whichever is earlier;
                  and

              (c) coverage will be extended beyond the fifth (5th) calendar day only upon the Named
                  Member's or Subsidiary's submission of such underwriting information as may be
                  required by BETARMA, BETARMA’S issuance of a certificate evidencing coverage for the
                  healthcare professional, and timely payment of the Contribution specified by BETARMA.

              If these requirements are not met or the healthcare professional is not deemed to be an
              acceptable underwriting risk by BETARMA, the healthcare professional will have no coverage
              beyond the fifth (5th) calendar day.

          (9) the estates, heirs, executors, administrators and legal representatives of any individual
              Member in the event of the Member's death, but only to the extent the Member would
              otherwise be provided coverage under this Contract.

         (10) any individual who previously qualified as a Member under clauses (1) through (8) above
              prior to the termination of his or her relationship with the Named Member or Subsidiary, but
              only for Claims alleging acts or omissions occurring prior to the termination of the
              relationship specified in those subsections.



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     B. If the Named Member or a Subsidiary is a limited liability company, the following are Members,
        but only to the extent that Named Member or Subsidiary is permitted or required by law to
        indemnify them:

          (1) its members, but only with respect to the conduct of its business; and

          (2) its managers, but only when acting within the course and scope of their duties to the Named
              Member or Subsidiary.

2. OTHER PERSONS AND ENTITIES ELIGIBLE FOR PROTECTION UNDER THIS CONTRACT

     The following persons and entities are covered as Supplemental Members under this Contract,
     subject to all of its terms and conditions, except any provision which is stated not to apply to
     Supplemental Members:

     A. the Lessor of equipment the Named Member or a Subsidiary leases, but only for Bodily Injury
        and Property Damage resulting solely from the acts, errors or omissions of the Named Member
        or Subsidiary in its use of the leased equipment. This extension of coverage applies only to
        Sections 2 and 3. This Contract does not apply to any Bodily Injury or Property Damage
        arising out of the acts, errors or omissions of the lessor or its agents or employees.

     B. the Lessor of premises the Named Member or a Subsidiary leases, but only for Bodily Injury
        and Property Damage resulting solely from the acts, errors or omissions of the Named Member
        or Subsidiary in its use of the leased premises. This extension of coverage applies only to
        Sections 2 and 3. This Contract does not apply to any Bodily Injury or Property Damage arising
        out of the acts, errors or omissions of the lessor or its agents or employees.

     C. any Supplemental Member to whom coverage is extended by amendment.

3. COVERAGE IN THE EVENT OF ACQUISITIONS, MERGERS AND DISSOLUTIONS

     A. If the Named Member or Subsidiary acquires or forms any organization, other than a
        partnership or joint venture, over which the Named Member or Subsidiary maintains at least fifty
        percent (50%) ownership or control, the organization will qualify as a Subsidiary under this
        Contract for acts or omissions committed or begun on or after the date that the Named Member
        or Subsidiary acquired or formed the organization. However, coverage under this provision shall
        be in excess of any other valid and collectible insurance or other coverage available to the
        organization. Coverage under this provision is afforded only until the thirtieth (30th) calendar day
        after the Named Member or Subsidiary acquires or forms the organization or the end of the
        Contract Period, whichever is earlier.

     B. If, before or during the Contract Period, the Named Member or any Subsidiary is acquired by
        or merged with any other entity, or dissolved, coverage for the acquired, merged or dissolved
        entity will terminate and will continue only for Claims against the directors, officers, trustees and
        other individual Members of such Named Member or Subsidiary, and only for acts or omissions
        committed prior to the acquisition, merger or dissolution.

     “Coverage,” as used in this section, includes the obligation to defend Claims and to pay Defense
     Expenses and indemnification.

4. SEPARATION OF MEMBERS' INTERESTS

     Except with respect to the Limit of Liability and any rights or duties specifically assigned to the first
     Named Member, this coverage applies:

     A. as if each Member were the only Member; and

     B. separately to each Member against whom a Claim is made.


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5. WHERE THIS CONTRACT PROVIDES PROTECTION

     Except as provided in Section 2.1, 2.3, 2.4 and Section 6.19, this Contract will apply anywhere in the
     world, provided a Claim or suit is brought within the United States of America, its territories or
     possessions, Puerto Rico or Canada. As for Claims that are brought outside of the United States of
     America, its territories or possessions, Puerto Rico or Canada, BETARMA shall have the right but not
     the obligation to investigate and settle such Claims and/or to defend such Claims.

6. BETARMA’S DUTY TO DEFEND

     A. BETARMA will defend any covered Claim against a Member, even if the allegations of the suit are
        groundless, false or fraudulent. BETARMA will defend a Claim if the facts alleged by the Claimant
        create a potential for liability within the coverage of this Contract, even if BETARMA’S obligation to
        indemnify is doubtful and is not ultimately established. BETARMA has no duty to defend any
        Claim that is not covered by this contract.

     B. BETARMA has the exclusive right, using counsel of BETARMA’S choice, to investigate, negotiate
        and defend any Claim. Notwithstanding any other provision of this Contract, a reservation by
        BETARMA of the right not to cover certain causes of action, certain alleged acts or omissions or
        certain allegations of damage shall not entitle a Member to select defense counsel to be paid for
        by BETARMA, nor shall BETARMA be obligated to pay for separate, independent or additional
        defense counsel in such circumstances.

     C. BETARMA, in its sole, absolute and unreviewable discretion, may prosecute any appeal by the
        Member from an adverse judgment. If the Member chooses to appeal in spite of BETARMA’S
        decision not to appeal, BETARMA shall have no obligation to pay for any costs of appeal, including
        attorneys' fees or bond premiums, and shall not be obligated to pay any post-judgment interest
        on the judgment even though these amounts may be within its Limit of Liability.

     D. BETARMA shall not be obligated to pay any Defense Expenses or to defend or to continue to
        defend any Claim, or to take or to continue to prosecute any appeal, once an applicable Limit of
        Liability shown on the Certificate, by amendment, or elsewhere has been exhausted.

7. THE TOTAL BETARMA WILL PAY

     A. The most BETARMA will pay for any one Claim is the per-Claim Limit of Liability specified in the
        Certificate or by amendment. If the Certificate specifies a Deductible amount for “Indemnity
        Only”, the deductible amount will reduce the amount that BETARMA will pay on account of
        damages for a Claim. If the Certificate specifies a Deductible amount for “Indemnity & Expense”,
        the Deductible amount will reduce the amount that BETARMA will pay on account of both Defense
        Expenses and damages for a Claim. Except as otherwise provided by amendment, Defense
        Expenses paid by BETARMA are in addition to the per-Claim Limit of Liability.

     B. In no event shall BETARMA be obligated to defend or to continue to defend any Claim, to take or
        prosecute any appeal or to make any additional payments, including Defense Expenses, once
        an applicable Limit of Liability shown on the Certificate, by amendment, or elsewhere has been
        exhausted by payments of judgments or settlements.

     C. The inclusion in a Claim of more than one Member or the making of Claims or the bringing of
        suits by more than one Claimant shall not increase the Limit of Liability. If two or more coverages
        under this Contract apply to a Claim (including coverages added by amendment), the most that
        BETARMA will pay is the highest applicable Limit of Liability.

     D. When two or more Claims are treated as a single Claim under the definition of "Claim," one
        Deductible and one Limit of Liability shall apply to all such Claims.

     E. Limits of Liability under multiple BETARMA Contracts may not be combined, added or stacked.
        The Aggregate Limit of Liability is the most that BETARMA will pay, regardless of the number or


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          duration of any and all Claims, Occurrences, injuries, acts, errors, omissions, offenses or
          successive periods of coverage involved.

     F. This provision applies only to coverages that are provided on an Occurrence basis. If Bodily
        Injury, Property Damage, Economic Damages, Personal Injury, Advertising Injury and
        discrimination, acts, errors, omissions or offenses (collectively, “Injuries and Events”) occur over a
        period of time within the Contract Period of two or more BETARMA Contracts, all such Injuries
        and Events shall be deemed to occur during the first such Contract, and the most that BETARMA
        will pay is the applicable Limit of Liability specified in that Contract.

     G. It is the intention of BETARMA and the Members that this Contract and a BETARMA Directors,
        Officers and Trustees Liability Coverage Contract including Healthcare Entity Coverage or a
        BETARMA Automobile Liability and Physical Damage Coverage Contract between BETARMA and
        Members shall not provide any duplication or overlap of coverage for the same Claim.
        Nonetheless, if both this Contract and another such BETARMA Coverage Contract, including
        amendments, do apply to a Claim, the terms, conditions and exclusions, including the Deductible
        and the Limits of Liability, of each such Coverage Contract shall apply, provided, however, that in
        no event shall the Member pay more than the highest Deductible, nor shall BETARMA pay more
        than the highest applicable Limit of Liability.

8. ADDITIONAL AMOUNTS BETARMA WILL PAY

     BETARMA will pay the following additional amounts:

     A. the cost of bonds legally required to release attachments, but only for bond amounts within the
        Limit of Liability, and all premiums on appeal bonds required to appeal a covered judgment.
        BETARMA does not, however, have to apply for or furnish these bonds.

     B. all expenses incurred by BETARMA.

     C. all costs taxed against a Member on a covered cause of action.

     D. all prejudgment and post-judgment interest on only the part of any judgment that BETARMA pays,
        and before BETARMA has paid, offered to pay, or deposited in the court the part of the judgment
        that is within BETARMA’S applicable Limit of Liability.

 9. PAYMENTS REQUIRED FROM MEMBERS AND RIGHT TO AUDIT

     A. Contribution.

          The Named Member shall pay a Contribution based on the estimated exposures that are
          calculated from the reported census the Named Member provided to BETARMA on or before the
          beginning of the Contract Period. BETARMA shall inform the Named Member of its Contribution
          for the Contract Period and installment Contribution. The Named Member shall pay each
          installment Contribution in full on or before the due date shown on the invoice.

          If BETARMA does not receive the full installment Contribution by the late date shown on the
          invoice, a penalty equal to five percent (5%) of the original installment Contribution due shall be
          added to the Contribution. A 10-Day Notice of Cancellation shall be mailed to the Named
          Member on the first business day after the late date canceling coverage if BETARMA does not
          receive the full installment Contribution, including the five percent (5%) penalty, by the
          cancellation date stated on the 10-Day Notice of Cancellation (“10-Day” shall equal ten (10)
          calendar days). An additional penalty equal to five percent (5%) of the original installment
          Contribution due will be charged to reinstate coverage, if BETARMA elects in its sole, absolute and
          unreviewable discretion, to reinstate coverage. The entire Contribution due to BETARMA,
          including all penalties, must be received before coverage will be reinstated.




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          The Named Member must promptly report any exposure increases due to New Exposures during
          the course of the Contract Period. New Exposures shall mean an addition of a new location,
          new service, or a new physician, surgeon, dentist, physician assistant, nurse anesthetists, nurse
          practitioner or nurse midwife. If BETARMA determines that a New Exposure materially changes
          Ratable Exposures, BETARMA will invoice the Named Member for the additional Contribution for
          coverage of the New Exposure. Ratable Exposures include but are not limited to exposure data
          reported by the Named Member on the census report form.

          If Ratable Exposures materially change due to closure of a location, discontinuation of a service
          or termination of a physician, surgeon, dentist, physician assistant, nurse anesthetist, nurse
          practitioner or nurse midwife, the Named Member may receive a Contribution adjustment,
          subject to the BETARMA Underwriting Department’s approval.

          At any time until sixty (60) calendar days after the Expiration Date of this Contract, the Named
          Member may make a written request to BETARMA for adjustment of the Contribution based on the
          Named Member’s audit of the exposure data. At any time until sixty (60) calendar days after the
          Expiration Date, BETARMA may audit the exposure data submitted to BETARMA and make
          adjustments to the Contribution. If the Named Member fails to disclose or misrepresents
          exposure data provided to BETARMA, BETARMA may audit prior years. If the Named Member fails
          to pay additional amounts invoiced by the due date of the invoice, BETARMA may cancel any
          BETARMA Coverage Contracts then in effect with ten (10) calendar days’ written notice.

          If the Named Member terminates this Contract at any time prior to the Expiration Date, earned
          Contribution shall be computed in accordance with the customary short rate table and procedure.

     B. Deductible and Other Payments.

          (1) The Named Member is responsible for any Deductible amount that is specified in the
              Certificate.

              (a) Deductibles paid by the Member are included as part of, and are not in addition to, the
                  applicable Limits of Liability.

              (b) If a Member elects to write off all or part of a bill for services, the amount written off shall
                  not apply toward exhaustion of the Deductible.

              (c) If the Member fails to pay a Deductible by the due date, a five percent (5%) penalty will
                  be added to the amount owed to BETARMA. If any part of the Deductible remains
                  outstanding for more the thirty (30) calendar days, interest shall accrue on the
                  outstanding balance at the rate of 1.5% per month.

          (2) If BETARMA pays any amount in settlement or satisfaction of any Claim within the Deductible,
              in excess of the Limit of Liability, or for which BETARMA has no liability under this Contract,
              the Member shall reimburse BETARMA for such amounts within thirty (30) calendar days of
              BETARMA’S request.

          (3) Notwithstanding any other provision of this Contract, if a Member is required by law to seek
              recovery from an elected official of any payment, including Defense Expenses, which
              BETARMA has paid, advanced or reimbursed, the Member shall repay all such sums to
              BETARMA within thirty (30) calendar days of BETARMA’S request.

     C. Offsetting Sums.

          BETARMA may reduce any amount owed to the Named Member by BETARMA, or any credit
          against the Named Member's monthly Contribution, by the amount of any sum owed to BETARMA
          which has remained unpaid for more than thirty (30) calendar days.

     D. BETARMA’S Right to Inspect and Audit.


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          (1) BETARMA shall be permitted, but not obligated, to inspect the Member’s property and
              operations at any time. Neither BETARMA’S right to make inspections, nor the making thereof,
              nor any report thereon, shall constitute an undertaking on behalf of, or for any Member's
              benefit, to determine or warrant that such property or operations are safe or healthful or are in
              compliance with any law, rule or regulation.

          (2) BETARMA may examine and audit a Member's books and records relevant to the subject
              matter of this Contract at any time during the Contract Period, and extensions thereof, and
              within one (1) year after the final termination of this Contract.

 10. MEMBERS' DUTIES IN THE EVENT OF OCCURRENCE OR CLAIM

     A. The Member must notify BETARMA, as soon as practicable, of an Occurrence, act, error or
        omission or offense which may reasonably be expected to result in a Claim. The notice must
        include:

          (1) how, when and where the Occurrence, act, error or omission, or offense took place;

          (2) the names and addresses of any injured persons and witnesses; and

          (3) the nature of any injury or damage arising out of the Occurrence, act, error or omission, or
              offense.

          Such notice is not considered a Claim for the purpose of determining coverage.

     B. If a Claim is made or brought against the Member, the Member must:

          (1) immediately record the specifics of the Claim, including the date received;

          (2) notify BETARMA as soon as possible;

          (3) immediately forward to BETARMA copies of any demands, notices, summonses or legal
              papers received in connection with the Claim or suit;

          (4) authorize BETARMA to obtain all records and other information, including submitting to
              examination and interrogation by a representative of BETARMA, under oath, if required;

          (5) cooperate fully with BETARMA in the investigation, settlement and defense of the Claim or
              suit, including attending hearings, depositions and trials, assisting in effecting settlement,
              securing and giving evidence, obtaining the attendance of witnesses, assisting in the conduct
              of suits, and giving a written statement or statements to BETARMA; and

          (6) assist BETARMA fully to do whatever is necessary to secure and effect any rights of indemnity,
              contribution or apportionment which the Member may have, and authorize BETARMA to
              exercise those rights in the Member's name.

     C. No Member shall, except at the Member's own cost, admit liability for or settle any Claim,
        voluntarily make a payment, assume any obligation or incur any expense without the prior written
        consent of BETARMA.

     D. If a Claim involves both covered and noncovered allegations, theories of recovery or relief,
        BETARMA shall be responsible only for that portion of the total amount that is covered by this
        Contract. Each Member and BETARMA shall use their best efforts to agree upon a fair and proper
        allocation of covered and noncovered sums. Each Member, if requested by BETARMA, shall use
        its best efforts to secure:




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          (1) a special verdict and findings that segregate covered and noncovered allegations, theories of
              recovery or relief; and

          (2) a bifurcation of the trial or hearing as to covered and noncovered allegations, theories of
              recovery or relief.

          Should a Member and BETARMA be unable to resolve any disagreement regarding allocation of
          covered and noncovered sums, either may invoke the arbitration provisions of this Contract.

 11. SETTLEMENT OF CLAIMS AND PAYMENT OF JUDGMENTS

     A. Settlement of Claims

              (1)   No settlement shall be made of any Claim against a Member without the Member's
                    consent, except as provided in this Section. Further, in granting or withholding such
                    consent, the Member shall act reasonably and in good faith considering its and BETARMA’S
                    respective interests. If BETARMA and the Member cannot agree on the appropriateness of
                    the settlement, the matter shall be submitted to settlement review as follows:

                    (a)   if BETARMA recommends settlement of a Claim, and if the Member desires to withhold
                          consent to such settlement, the Member shall within seven (7) calendar days after
                          notification of the recommendation appeal such recommendation to a settlement
                          review panel. The appeal shall be in writing and shall be submitted to the BETARMA
                          Claims Representative assigned to the Claim. The appeal shall indicate whether the
                          Member requests to be present during the settlement review panel hearing. The
                          settlement review panel shall be composed of:

                          (i) a minimum of three (3) Members of the BETA Council, each of whom is appointed
                              by the chairperson;

                          (ii) one of the Named Member's administrators; and

                          (iii) one of the Named Member's directors or trustees.

                    (b)   upon completion of the review, the settlement review panel shall determine whether
                          the proposed settlement is reasonable and it shall immediately advise BETARMA and
                          the Member of its decision.

                    (c)   If the Member fails to timely appeal, BETARMA will settle the Claim as proposed and
                          submit National Practitioner Data Bank and licensing agency reports as required by
                          law. If the BETA Council Chairperson or the Named Member fails to appoint
                          members to the settlement review panel within five (5) calendar days of receipt of
                          notice of the appeal, the appeal may be decided by the members of the settlement
                          review panel who have been appointed during that period.

              (2)   The decision of the settlement review panel shall be binding upon both BETARMA and the
                    Member.

              (3)   This Section 7.11.A does not apply to Supplemental Members, unless otherwise provided
                    by amendment.

     B. Payment of Judgments

          BETARMA may seek periodic payment of a judgment when such payment is permitted by law.

 12. DISPUTES WITH BETARMA




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     A. Legal Action Against BETARMA.

              (1)   No person or entity may join BETARMA as a party or otherwise bring BETARMA into any
                    Claim, suit, arbitration or other proceeding against the Member.

              (2)   No person or entity has a right under this Contract to sue or arbitrate with BETARMA on this
                    Contract unless all of its terms have been fully complied with and either a final judgment
                    against the Member after an actual trial or a written agreement signed by BETARMA, the
                    Member and the Claimant has been obtained.

              (3)   This Contract does not extend any rights to a Claimant.

     B. Arbitration of Disputes.

          All disputes in any way concerning, arising out of or relating to this Contract that shall be
          submitted to binding arbitration, unless resolved through BETARMA’S internal dispute
          resolution procedure established by the BETA Council.

          Before requesting arbitration a Member must complete BETARMA’S internal dispute
          resolution procedure established by the BETA Council. Requests for binding arbitration
          must be made within thirty (30) calendar days after the internal dispute resolution hearing
          decision is provided in writing to the Named Member by BETARMA. If a request is not made
          within thirty (30) calendar days, the decision shall be final and binding.

          The arbitration and discovery will be governed by the California Arbitration Act, Section
          1280, et seq. of the Code of Civil Procedure, except to the extent that it is inconsistent with
          this Section. BETARMA and each Member waive the right to court remedies, including a jury
          trial.

           In all such arbitrations the terms, conditions and exclusions of this Contract shall be
          construed in an even-handed fashion in the manner most consistent with the relevant
          terms, conditions and exclusions of the Contract.

          In any arbitration, one Arbitrator will be chosen by all Members collectively, the other by
          BETARMA, and a Neutral Arbitrator will be chosen by the mutual agreement of the two
          Arbitrators before they enter into arbitration. If any party should fail to choose an
          Arbitrator within thirty (30) calendar days following a written request by the other party to
          do so, the requesting party may choose two Arbitrators.

          Each party will present its case to the Arbitrators within thirty (30) calendar days following
          the date of appointment of the Neutral Arbitrator. The Neutral Arbitrator shall be the judge
          of the relevance of the evidence offered and is not required to follow the strict rules of
          evidence. The decision of the Arbitrators chosen by the parties shall be final and binding
          on the parties; but, if these Arbitrators fail to agree, the decision of the majority of the
          Arbitrators shall be final and binding upon the parties. The Arbitrators shall be limited to
          the remedies that could be awarded by the Superior Court of the State of California.
          Judgment upon the final decision of the Arbitrators may be entered in any court of
          competent jurisdiction.

          Each party shall bear the expense of its own Arbitrator, and shall jointly and equally bear
          with the other the expense of the Neutral Arbitrator and of the arbitration. In the event that
          the two Arbitrators are chosen by one party, as provided above, the expense of the
          Arbitrators, the Neutral Arbitrator and the arbitration shall be equally divided between the
          parties.

          Any arbitration proceedings shall take place in San Francisco, California.




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          The Arbitrators shall have no authority to review any matter as to which this Contract
          grants BETARMA sole discretion, including but not limited to the cost and terms of any
          extended reporting period. No Member may arbitrate, or contest in any court, any such
          exercise of discretion.

 13. TRANSFER OF RIGHTS OF RECOVERY AGAINST OTHERS TO BETARMA

     A. If BETARMA makes any payment under this Contract, BETARMA is entitled to the extent of its
        payment to take over the Members' rights of recovery against all others. The Members must do
        nothing to make it harder for BETARMA to enforce those rights, and must sign and deliver any
        papers, and do anything else that may be necessary, to enable BETARMA effectively to bring suit
        in the name of the Members. The obligations of the Members under this provision will survive
        the termination of the Contract Period.

     B. Any amount recovered pursuant to this Section shall be apportioned as follows:

          (1) any recovery shall first be used in the repayment of expenses incurred toward recovery;

          (2) next, to any damages and Defense Expenses paid by BETARMA;

          (3) next, to any damages and Defense Expenses paid by the Member in excess of any
              Deductible amount;

          (4) next, to any damages and Defense Expenses paid by an excess carrier on the Member's
              behalf;

          (5) next, to any damages and Defense Expenses paid by any other insurer on the Member's
              behalf; and,

          (6) finally, to the repayment of the Member's Deductible amount.

 14. APPLICABILITY OF INSURANCE OR OTHER COVERAGE A MEMBER MAY ALSO HAVE

     A. BETARMA Provides Initial Protection for Certain Members.

          With respect to all Members identified in Section 7 other than the Named Member, any
          Subsidiary and the persons identified in Sections 7.1.A(1) and 7.1.A(6)(a), this Contract provides
          protection prior to any applicable insurance or other coverage or self-insurance.

     B. The Protection Afforded Under This Contract Is Excess Protection for Certain Members.

          With respect to the Named Member, any Subsidiary and the persons identified in
          Sections 7.1.A(1) and 7.1.A(6)(a), this Contract shall be excess of any valid and collectible
          insurance or other coverage or self-insurance obtained or maintained by the Member or for the
          Member's benefit, whether such coverage or insurance or self-insurance is stated to be primary,
          contributory, excess, contingent or otherwise, unless such other coverage or insurance or
          self-insurance is written only as specific excess coverage, insurance or self-insurance over and
          above the Limit of Liability provided under this Contract by reference to the Certificate number of
          this Contract.

 15. DELEGATION BY BETARMA AND ASSIGNMENT BY MEMBERS

     A. Delegation.

          Any or all Contract duties, obligations and responsibilities of BETARMA may be delegated or
          assigned to independent contractors and consultants retained or employed by BETARMA.




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     B. Assignment.

          Any assignment of any right or interest under this Contract shall not bind BETARMA without its
          written consent.

 16. GOVERNING LAW

      This Contract in all respects shall be governed by and construed in accordance with the laws of the
      State of California, without regard to its choice of law rules.

 17. THE TERMS OF THIS CONTRACT SHALL CONFORM TO STATUTE

      Any terms of this Contract that conflict with any applicable statute of the State of California are
      hereby amended to conform to such statute.

 18. EFFECTIVE DATE OF THIS CONTRACT

      This Contract shall be effective as of the Effective Date specified on the Certificate of Participation,
      but only if the Certificate has been signed by a duly authorized representative of BETARMA.

 19. TERMINATION OF THIS CONTRACT

     A. Termination by Named Member.

          The Named Member may terminate this Contract by mailing to BETARMA -- at the address
          specified on the Certificate -- written notice stating when, not less than thirty (30) calendar days
          thereafter, the termination will be effective.

     B. Termination by BETARMA.

          (1) BETARMA may terminate this Contract for:

              (a)    failure to pay any Contribution when due;

              (b)    failure to reimburse BETARMA for payments made

                    (i)    within the Deductible,

                    (ii)   in excess of the Limit of Liability,

                    (iii) for which BETARMA has no liability under this Contract, or

                    (iv) which the Member is obligated to repay to BETARMA;

              (c) failure to abide by any provision of the Joint Powers Authority Agreement, as it may be
                  amended, or this Contract;

              (d) failure to give prompt notification to BETARMA of any Claim; or

              (e) upon a majority vote of the BETA Council, for failure to implement loss control or risk
                  management recommendations.

          When termination is for any reason specified above, the Named Member shall be given ten (10)
          calendar days' written notice, return receipt requested, of termination. Proof of mailing shall be
          deemed proof of receipt.




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          (2) BETARMA may terminate this Contract for any reason other than those provided above by
              mailing written notice stating when, not less than ninety (90) calendar days thereafter, the
              termination shall be effective.

     C. Automatic Termination.

          This Contract shall automatically terminate on the effective date of the Named Member's
          withdrawal or termination as a member of BETARMA.

     D. Effect of Termination; Adjustment of Contribution.

          (1) Termination by either party shall extinguish the coverage provided to all Members as of the
              effective date of the termination.

          (2) The Named Member shall remain liable for any unpaid Contribution, penalties, Deductibles,
              interest and other sums that have accrued before and/or after the termination. Payment of all
              such sums due BETARMA shall be made within thirty (30) calendar days of the time at which
              termination is effective or within thirty (30) calendar days of BETARMA’S request, if the amount
              becomes due after the termination of the Contract.

          (3) Notwithstanding any other provision of this Contract, if the Named Member fails to pay all
              sums due BETARMA upon written notice, BETARMA shall have no further obligation to defend
              or indemnify the Named Member and Subsidiaries with regard to open Claims.

 20. LIMITED RIGHT TO EXTENDED REPORTING PERIOD

     A. Except as provided in this Section or by amendment, upon termination of coverage there is no
        extended reporting period available to Members for Claims first made after this Contract ends.

     B. If this Contract is terminated by BETARMA or the Named Member, the Named Member shall
        have the right to purchase an extended reporting period upon payment of an additional
        Contribution. This right will terminate, however, unless written notice of the Named Member's
        election is received by BETARMA within thirty (30) calendar days of the effective date of the
        termination of this Contract. The extended reporting period will provide coverage for Claims
        which are otherwise covered under this Contract and are first made and reported in writing to
        BETARMA as soon as possible during the extended reporting period, but only with respect to
        negligent acts, errors, or omissions (under Section 2) occurring on or after the Retroactive Date
        and before the effective date of such termination. The cost and terms of the extended reporting
        period shall be determined in the sole, absolute and unreviewable discretion of BETARMA at the
        time the extended reporting period is requested. This provision applies only to coverages that are
        provided on a “claims made and reported” basis.

     C. The Named Member does not have the right to purchase an extended reporting period if, on the
        date of termination, the Named Member has failed to pay any Contribution due under this
        Contract, or has failed to reimburse BETARMA for any amount BETARMA has paid on account of
        any settlement or as damages or Defense Expenses in excess of any applicable Limit of
        Liability, or has otherwise failed to pay any other amount due BETARMA.

     D. The extension shall not increase the Limit of Liability specified in the Certificate.

     E. The extension will reinstate the Limit of Liability specified in the Certificate one time only.

 21. MEMBERS’ AUTHORIZATION AND NOTICES TO MEMBERS

      All Members agree that the Named Member will act on their behalf for receiving all notices from
      BETARMA, and for the negotiation and acceptance of any modification to any provision of this
      Contract.



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 22. LIMITS ON HOW THIS CONTRACT CAN BE CHANGED

      Notice to any agent or knowledge possessed by any agent or other person acting on behalf of
      BETARMA will not effect a waiver or change in any part of this Contract, nor estop BETARMA from
      asserting any right under the terms, conditions and limitations of this Contract. The terms,
      conditions and limitations of this Contract may only be waived or changed by written amendment.

 23. MEMBERS' REPRESENTATIONS ON WHICH BETARMA HAS RELIED

      All Members represent that the statements contained in the application, any updated or
      supplementary application and all materials submitted to BETARMA in connection with an application,
      are true, accurate and complete. All Members agree that:

     A. those statements are the basis of this Contract and are to be considered incorporated into and a
        part of this Contract;

     B. those statements are material to BETARMA’S acceptance of its obligations under this Contract;
        and

     C. this Contract is issued in reliance upon the truth, accuracy and completeness of those
        statements.

 24. NON-RENEWAL OF THIS CONTRACT

     A. The Named Member may elect not to renew this Contract for any reason.

     B. BETARMA may elect not to renew this Contract for any reason.

          If BETARMA decides not to renew this Contract, BETARMA will mail or deliver written notice of the
          non-renewal to the Named Member not less than sixty (60) calendar days before the Expiration
          Date specified in the Certificate. If the notice is mailed, proof of mailing will be sufficient proof of
          notice. BETARMA need not mail or deliver such notice if the Named Member has informed
          BETARMA that the Named Member is obtaining replacement coverage.

          If BETARMA elects to renew this Contract without offering coverage to an Individual Member,
          BETARMA will mail or deliver written notice to the Named Member not less than sixty (60)
          calendar days before the Expiration Date specified on the Certificate. BETARMA need not give
          such notice of other intended changes to the renewal contract.

     C. Effect of Non-Renewal; Adjustment of Contribution.

          (1) Non-renewal by either party shall extinguish the coverage provided to all Members as of the
              Expiration Date of this Contract.

          (2) The Named Member shall remain liable for any unpaid Contribution, penalties, Deductibles,
              interest and other sums that have accrued before and after the Expiration Date. Payment of
              all such sums due BETARMA shall be made within thirty (30) calendar days of the time at
              which expiration is effective or within thirty (30) calendar days of BETARMA’S request, if the
              amount becomes due after the expiration of the Contract. Notwithstanding any other
              provision of this Contract, if the Named Member fails to pay all sums due BETARMA upon
              written notice, BETARMA shall have no further obligation to defend or indemnify the Named
              Member and Subsidiaries with regard to open Claims.




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                                    BETA Risk Management Authority ("BETARMA")
                                                            A Public Entity

                                            AMENDMENT
                            PROCEDURES REGARDING SETTLEMENT OF SECTION 2
                                     CLAIMS AGAINST PHYSICIANS

                                                                                  Certificate Number:             Amendment No:
                                                                                     HCL-17-807                      H120-01

 Issued to: University of Southern California
 Effective Date: 07/01/17 at 12:01 a.m.         Expiration Date: 07/01/18 at 12:01 a.m.      Additional Contribution: Per Contract

It is understood and agreed as follows:

  1. The following procedures regarding settlement of Claims, and not the procedures regarding settlement of
Claims and resolution of disputes set forth in Section 7, apply to settlement of Claims against physicians
under Section 2 (Healthcare Entity Professional Liability).

  2. No settlement shall be made of any such Claim on a physician′s behalf without his or her consent, except
as provided in this Amendment. Further, in granting or withholding such consent the physician shall act
reasonably and in good faith considering his or her and BETARMA′S respective interests. If the decision to settle
a Claim is recommended by BETARMA, and if BETARMA and the physician cannot agree on the
appropriateness of the settlement, the matter shall be submitted to a settlement review panel comprising three
independent physicians in good standing who hold a valid license to practice medicine in the State of
California and who actively practice the same medical specialty as the defendant physician.

    a. Upon receipt of BETARMA′S recommendation to settle a Claim, if the physician desires to withhold
consent to such settlement, the physician shall, within seven (7) calendar days after notification by BETARMA
of the recommendation, appeal such recommendation to a settlement review panel. The appeal shall be in
writing and shall be submitted to the Claims Representative assigned to the Claim. The appeal shall indicate
whether the Member requests to be present during the settlement review panel hearing. If the Member fails to
timely appeal, BETARMA will settle the Claim as proposed and submit National Practitioner Data Bank and
licensing agency reports as required by law. The settlement review panel shall be composed of:

     (1) One physician selected by the defendant physician;
     (2) One physician selected by BETARMA; and
     (3) One physician selected by the mutual agreement of the two physicians selected by the defendant
physician and BETARMA.

    b. Upon completion of the review, the settlement review panel shall determine whether the proposed
settlement is reasonable, and it shall immediately advise BETARMA and the defendant physician of its decision.

  3. The decision of the settlement review panel shall be binding upon both BETARMA and all Members.

ALL OTHER TERMS, CONDITIONS AND EXCLUSIONS REMAIN UNCHANGED.




                                                                                          Authorized Representative of BETARMA
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                                    BETA Risk Management Authority ("BETARMA")
                                                            A Public Entity

                                              AMENDMENT
                                 RETROACTIVE DATES FOR MULTIPLE ENTITIES

                                                                                  Certificate Number:            Amendment No:
                                                                                      HCL-17-807                    H201-01

 Issued to: University of Southern California
 Effective Date: 07/01/17 at 12:01 a.m.         Expiration Date: 07/01/18 at 12:01 a.m.   Additional Contribution: Per Contract

It is understood and agreed that coverage under this Contract for the below-listed entities is subject to the
Retroactive Dates listed below:

                                                                                     RETROACTIVE                CANCEL
NAME OF ENTITY                                                                           DATE                    DATE
Keck Hospital of USC                                                                    04/01/09
USC Kenneth Norris, Jr. Cancer Hospital                                                   04/01/09
USC Kenneth Norris, Jr. Cancer Hospital                                                   01/01/83               12/16/03
USC Care Medical Non-Contracted, LLC.                                                     07/01/09
USC Care Medical Group, Inc.                                                              07/01/79
Health Research Associates, Inc.                                                          02/24/97
USC Verdugo Hills Hospital, LLC                                                           02/25/13
Verdugo Hills Hospital, Verdugo Hills Health Services, Verdugo                            09/30/84
Hills Support Services Corporation, Verdugo Hills Professional
Buildings and Verdugo Hills Hospital Foundation
USC Verdugo Hills Hospital                                                                07/16/13

ALL OTHER TERMS, CONDITIONS AND EXCLUSIONS REMAIN UNCHANGED.




                                                                                     Authorized Representative of BETARMA




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                                    BETA Risk Management Authority ("BETARMA")
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                                                      AMENDMENT
                                                  GOOD SAMARITAN CARE

                                                                                  Certificate Number:             Amendment No:
                                                                                      HCL-17-807                     H216-01

 Issued to: University of Southern California
 Effective Date: 07/01/17 at 12:01 a.m.         Expiration Date: 07/01/18 at 12:01 a.m.      Additional Contribution: Per Contract

It is understood and agreed that the following is added to Section 2 (What BETARMA Will Pay Subject To The
Exclusions In Section 6 And The Total BETARMA Will Pay In Section 7):

6. BETARMA will pay those sums which a Member covered under this section becomes legally obligated to
pay because of Bodily Injury that results from that Member providing or failing to provide Professional
Services outside the scope of the Member′s employment or contracted services with the Named Member in
a bona fide medical emergency where the Member receives no remuneration.

  Coverage under this Amendment will apply anywhere in the world, provided a Claim or suit is brought
within the United States of America, its territories or possessions, Puerto Rico or Canada. BETARMA shall
have the right but not the obligation to investigate, settle or defend Claims or suits brought outside of the
United States of America, its territories or possessions, Puerto Rico or Canada.

ALL OTHER TERMS, CONDITIONS AND EXCLUSIONS REMAIN UNCHANGED.




                                                                                          Authorized Representative of BETARMA




HCL-H216(07/12)                                                 Page 2                                   Date Issued: July 01, 2017 (Initial)
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                                    BETA Risk Management Authority ("BETARMA")
                                                            A Public Entity

                                           AMENDMENT
                  ADDITIONAL MEMBER – SEPARATE LIMITS WITH CONTINUOUS COVERAGE

                                                                                  Certificate Number:             Amendment No:
                                                                                      HCL-17-807                     H300-02

 Issued to: University of Southern California
 Effective Date: 07/01/17 at 12:01 a.m.         Expiration Date: 07/01/18 at 12:01 a.m.      Additional Contribution: Per Contract

It is understood and agreed that Coverage afforded by this Contract is extended to:

  The Health Care Providers listed on the attached schedule and the individual′s professional medical
corporation, if any (each individual provider and his or her professional medical corporation are collectively
the "Provider" in this Amendment)

as a Member, as defined in Section 7.1, "Who is Protected Under This Contract," but only with respect to the
Provider′s legal liability when acting within the course and scope of the Provider′s duties to the Named
Member or Subsidiary.

The Limits of Liability shown on the attached schedule apply on an individual basis to each Provider and are
in addition to, the Limits of Liability stated on the Certificate of Participation. However, for all acts, errors and
omissions of a Provider when acting in a capacity specified in Section 7.1.A (1), (3), (4), (5) and (6) of this
Contract, the Limits of Liability stated on the Certificate of Participation shall apply.

ALL OTHER TERMS, CONDITIONS AND EXCLUSIONS REMAIN UNCHANGED.




                                                                                          Authorized Representative of BETARMA




HCL-H300(07/12)                                                 Page 1                                   Date Issued: July 01, 2017 (Initial)
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                                       BETA Risk Management Authority ("BETARMA")
                                                              A Public Entity

                                           AMENDMENT
                  ADDITIONAL MEMBER – SEPARATE LIMITS WITH CONTINUOUS COVERAGE

                                                                                      Certificate Number:              Amendment No:
                                                                                          HCL-17-807                      H300-02

 Issued to: University of Southern California
 Effective Date: 07/01/17 at 12:01 a.m.         Expiration Date: 07/01/18 at 12:01 a.m.       Additional Contribution: Per Contract

                                                                                    Limits of Liability    Effective    Retro       Cancel
 Name                      Specialty               Contribution Category           Per Claim / Aggregate     Date       Date         Date

 Demeter, Milan            Otolaryngology          5 - Otolaryng (Incl Plast Sx)   $1,000,000/$3,000,000   07/01/17 04/30/15
                           (Major with Facial
 Hubanks, John             Otolaryngology          4 - Otolaryngology              $1,000,000/$3,000,000   07/01/17 04/30/15
                           (Major with No
 Stoneman, George          Otolaryngology          4 - Otolaryngology              $1,000,000/$3,000,000   07/01/17 04/30/15
                           (Major with No




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                                    BETA Risk Management Authority ("BETARMA")
                                                            A Public Entity

                                                 AMENDMENT
                                      ADDITIONAL MEMBERS - LOCUM TENENS

                                                                                  Certificate Number:             Amendment No:
                                                                                      HCL-17-807                     H303-01

 Issued to: University of Southern California
 Effective Date: 07/01/17 at 12:01 a.m.         Expiration Date: 07/01/18 at 12:01 a.m.      Additional Contribution: Per Contract

It is understood and agreed that coverage afforded by this Contract is extended to:

  The Health Care Providers listed on the attached schedule and the individual′s professional medical
corporation, if any (each individual provider and his or her professional medical corporation are collectively
the "Locum Tenens" in this Amendment)

as a Member, as defined in Section 7.1, "Who is Protected Under This Contract," but only with respect to the
Locum Tenens′ legal liability when acting within the course and scope of the Locum Tenens′ duties to the
Named Member or Subsidiary.

The Limits of Liability shown on the attached schedule apply on an individual basis to each Provider and are
within, and not in addition to, the Limits of Liability stated on the Certificate of Participation. However, for all
acts, errors and omissions of a Provider when acting in a capacity specified in Section 7.1.A (1), (3), (4), (5)
and (6) of this Contract, the Limits of Liability stated on the Certificate of Participation shall apply.

Where the Limits of Liability shown on the attached schedule are described as "See Certificate", that means
the Locum Tenens will share in the per-Claim and aggregate Limits of Liability stated on the Certificate of
Participation of the Named Member.

ALL OTHER TERMS, CONDITIONS AND EXCLUSIONS REMAIN UNCHANGED.




                                                                                          Authorized Representative of BETARMA




HCL-H303(07/12)                                                 Page 1                                   Date Issued: July 01, 2017 (Initial)
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                                    BETA Risk Management Authority ("BETARMA")
                                                            A Public Entity

                                                        AMENDMENT
                                                      DEFENSE COUNSEL

                                                                                  Certificate Number:            Amendment No:
                                                                                      HCL-17-807                    H312-01

 Issued to: University of Southern California
 Effective Date: 07/01/17 at 12:01 a.m.         Expiration Date: 07/01/18 at 12:01 a.m.   Additional Contribution: Per Contract

It is understood and agreed that section 7.6.B is deleted in its entirety and replaced by the following:

B. 1. Selection of Defense Counsel

   a. Claims Expected to be Within Deductible. For Claims that are reasonably expected by BETARMA to
be within the Named Member′s Deductible, BETARMA shall retain defense counsel chosen by the Named
Member to investigate, negotiate and defend those Claims.

    b. Claims Expected to Exceed Deductible. For Claims that are reasonably expected by BETARMA to
exceed the Named Member′s Deductible, BETARMA shall select counsel to investigate, negotiate and defend
those Claims, subject to the Named Member′s consent, which shall not be unreasonably withheld.

    c. Claims Involving Defense Counsel Conflicts. With respect to Claims described in Clause b above, if
BETARMA reserves the right not to indemnify a Member on a coverage issue, other than punitive or exemplary
damages or a Claim in excess of the Limit of Liability, and the outcome of that coverage issue can be
controlled by the defense counsel selected under Clause b, the Member may exercise the right to select
defense counsel, or may waive that right in writing.

  Any defense counsel selected by the Member shall possess minimum qualifications established by
BETARMA. These qualifications shall include, but are not limited to:

   1. at least five years of civil litigation practice, which includes substantial defense experience in the
subject at issue in the litigation; and

    2. errors and omissions coverage with limits of liability of at least $1,000,000 per claim.

  2. Obligations of Member and Defense Counsel.

    All defense counsel shall comply with BETARMA′S Litigation Management Guidelines. The Member and
defense counsel selected shall disclose to BETARMA all information relating to the Claim and shall timely
inform and consult with BETARMA on all matters relating to the Claim, except privileged communications
relevant to coverage disputes. Defense counsel shall notify BETARMA that it is asserting this privilege and
identify the nature of the information withheld.

    Both defense counsel retained under Clause b and defense counsel retained under Clause c shall be
allowed to participate in all aspects of the litigation. Each counsel shall cooperate fully in the exchange of
information with the other counsel consistent with each counsel′s ethical and legal obligation to the Member.

  3. BETARMA′S Obligation to Pay Defense Counsel Fees.

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                                    BETA Risk Management Authority ("BETARMA")
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                                                        AMENDMENT
                                                      DEFENSE COUNSEL

                                                                                  Certificate Number:             Amendment No:
                                                                                      HCL-17-807                     H312-01

 Issued to: University of Southern California
 Effective Date: 07/01/17 at 12:01 a.m.         Expiration Date: 07/01/18 at 12:01 a.m.      Additional Contribution: Per Contract


    BETARMA′S obligation to pay fees to defense counsel selected by a Member is limited to the rates which
are actually paid by BETARMA to attorneys retained by it in the ordinary course of business in the defense of
similar actions in the county where the Claim arose or is being defended.

  4. Dispute Resolution.

    Any dispute concerning selection, obligations or fees of defense counsel that cannot be resolved by
discussion and negotiation shall be resolved by final and binding arbitration pursuant to the provisions of
Section 7.12, except that in the interest of quickly and efficiently resolving the dispute the arbitration shall be
before a single neutral arbitrator chosen by the parties to the dispute.

ALL OTHER TERMS, CONDITIONS AND EXCLUSIONS REMAIN UNCHANGED.




                                                                                          Authorized Representative of BETARMA




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                                    BETA Risk Management Authority ("BETARMA")
                                                            A Public Entity

                                          AMENDMENT
                         SUPPLEMENTAL MEMBER—PROFESSIONAL LIABILITY ONLY

                                                                                  Certificate Number:             Amendment No:
                                                                                      HCL-17-807                     H313-01

 Issued to: University of Southern California
 Effective Date: 07/01/17 at 12:01 a.m.         Expiration Date: 07/01/18 at 12:01 a.m.      Additional Contribution: Per Contract

It is understood and agreed that the coverage afforded under Section 2 (Healthcare Entity Professional
Liability) of this Contract is extended to any person or organization to whom the Named Member is obligated
by written contract to provide such coverage as is afforded by Section 2 (the "Supplemental Member"), but
only for legal liability arising out of the negligence or other fault of the Named Member or Subsidiary.

This Amendment does not extend coverage for the acts, errors or omissions of the Supplemental Member or
its agents.

ALL OTHER TERMS, CONDITIONS AND EXCLUSIONS REMAIN UNCHANGED.




                                                                                          Authorized Representative of BETARMA




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                                    BETA Risk Management Authority ("BETARMA")
                                                            A Public Entity

                                          AMENDMENT
                       MANDATORY SPECIAL PROVISIONS FOR NONPROFIT ENTITIES

                                                                                  Certificate Number:             Amendment No:
                                                                                      HCL-17-807                     H314-01

 Issued to: University of Southern California
 Effective Date: 07/01/17 at 12:01 a.m.         Expiration Date: 07/01/18 at 12:01 a.m.      Additional Contribution: Per Contract

It is understood and agreed that the Contract is amended as follows:

1. In the IMPORTANT NOTICE section, paragraph two is deleted and replaced with the following:

BETARMA is a California Joint Powers Authority formed to pool self-insured Claims and losses among public
entities and nonprofit organizations providing healthcare services as authorized by California Government
Code Sections 990.4(a), 990.8(c) and 6527 and subject to the provisions of Section 991.2. BETARMA is not
subject to regulation as an insurer. As a public agency, BETARMA will be guided by legal principles relating to
public agencies, rather than insurance law. This Contract is not an insurance policy, and the Named Member
must be a member in good standing in BETARMA to participate in the Group Self-Insurance Program. The
Named Member pays, when due, Contributions to BETARMA. In return, BETARMA provides healthcare entity
professional liability protection under this agreement. However, the Contract includes limitations, restrictions
and exclusions. In other words, this agreement does not protect all risks associated with your activities.

2. Section 6.11 is deleted in its entirety and replaced with the following:

  11. This Contract shall not apply to any Claim against an individual Member alleging directly or indirectly
or in whole or in part that he or she committed sexual harassment or sexual abuse, assault, battery or
molestation, unless the healthcare senior executives (C-Suite) or Office of General Counsel of the Named
Member first determines that it is in the best interests of the Named Member for BETARMA to defend the
individual Member and requests that BETARMA do so.

ALL OTHER TERMS, CONDITIONS AND EXCLUSIONS REMAIN UNCHANGED.




                                                                                          Authorized Representative of BETARMA




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                                    BETA Risk Management Authority ("BETARMA")
                                                            A Public Entity

                                                AMENDMENT
                                    MEMBER – PROFESSIONAL LIABILITY ONLY

                                                                                  Certificate Number:             Amendment No:
                                                                                      HCL-17-807                     H315-01

 Issued to: University of Southern California
 Effective Date: 07/01/17 at 12:01 a.m.         Expiration Date: 07/01/18 at 12:01 a.m.      Additional Contribution: Per Contract

It is understood and agreed that coverage under Section 2 (Healthcare Entity Professional Liability) only, is
extended to temporary or leased employees, including medical doctors, nurse practitioners or physician
assistants, through agencies, ("Member") under Section 7.1 of the Contract, but only with respect to
Member′s legal liability when acting within the course and scope of Member′s duties to the Named Member
or Subsidiary.

It is further understood and agreed that this extension of coverage will not apply to a given healthcare
professional if coverage is already extended to the healthcare professional by any other provision of the
Contract, including any other amendment to the Contract.

ALL OTHER TERMS, CONDITIONS AND EXCLUSIONS REMAIN UNCHANGED.




                                                                                          Authorized Representative of BETARMA




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                                    BETA Risk Management Authority ("BETARMA")
                                                            A Public Entity

                                                AMENDMENT
                                    MEMBER – PROFESSIONAL LIABILITY ONLY

                                                                                  Certificate Number:             Amendment No:
                                                                                      HCL-17-807                     H315-02

 Issued to: University of Southern California
 Effective Date: 07/01/17 at 12:01 a.m.         Expiration Date: 07/01/18 at 12:01 a.m.      Additional Contribution: Per Contract

It is understood and agreed that coverage under Section 2 (Healthcare Entity Professional Liability) only, is
extended to international visiting physicians for non-direct patient care while under the supervision of
licensed faculty, ("Member") under Section 7.1 of the Contract, but only with respect to Member′s legal
liability when acting within the course and scope of Member′s duties to the Named Member or Subsidiary.

It is further understood and agreed that this extension of coverage will not apply to a given healthcare
professional if coverage is already extended to the healthcare professional by any other provision of the
Contract, including any other amendment to the Contract.

ALL OTHER TERMS, CONDITIONS AND EXCLUSIONS REMAIN UNCHANGED.




                                                                                          Authorized Representative of BETARMA




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                                    BETA Risk Management Authority ("BETARMA")
                                                            A Public Entity

                                                AMENDMENT
                                    MEMBER – PROFESSIONAL LIABILITY ONLY

                                                                                  Certificate Number:             Amendment No:
                                                                                      HCL-17-807                     H315-03

 Issued to: University of Southern California
 Effective Date: 07/01/17 at 12:01 a.m.         Expiration Date: 07/01/18 at 12:01 a.m.      Additional Contribution: Per Contract

It is understood and agreed that coverage under Section 2 (Healthcare Entity Professional Liability) only, is
extended to independent contractors as per contractual agreement, except physicians, surgeons, dentists,
physician assistants, nurse anesthetists, nurse practitioners or nurse midwives, ("Member") under Section 7.1
of the Contract, but only with respect to Member′s legal liability when acting within the course and scope of
Member′s duties to the Named Member or Subsidiary.

It is further understood and agreed that this extension of coverage will not apply to a given healthcare
professional if coverage is already extended to the healthcare professional by any other provision of the
Contract, including any other amendment to the Contract.

ALL OTHER TERMS, CONDITIONS AND EXCLUSIONS REMAIN UNCHANGED.




                                                                                          Authorized Representative of BETARMA




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                                    BETA Risk Management Authority ("BETARMA")
                                                            A Public Entity

                                                AMENDMENT
                                    MEMBER – PROFESSIONAL LIABILITY ONLY

                                                                                  Certificate Number:             Amendment No:
                                                                                      HCL-17-807                     H315-04

 Issued to: University of Southern California
 Effective Date: 07/01/17 at 12:01 a.m.         Expiration Date: 07/01/18 at 12:01 a.m.      Additional Contribution: Per Contract

It is understood and agreed that coverage under Section 2 (Healthcare Entity Professional Liability) only, is
extended to volunteer healthcare professionals who required licensing or other certification, including
physicians, surgeons, dentists, physician assistants, nurse anesthetists, nurse practitioners or nurse midwives,
while rendering Professional Services, ("Member") under Section 7.1 of the Contract, but only with respect
to Member′s legal liability when acting within the course and scope of Member′s duties to the Named
Member or Subsidiary.

It is further understood and agreed that this extension of coverage will not apply to a given healthcare
professional if coverage is already extended to the healthcare professional by any other provision of the
Contract, including any other amendment to the Contract.

ALL OTHER TERMS, CONDITIONS AND EXCLUSIONS REMAIN UNCHANGED.




                                                                                          Authorized Representative of BETARMA




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                                    BETA Risk Management Authority ("BETARMA")
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                                               AMENDMENT
                                  BLANKET CALIFORNIA LOCATIONS COVERAGE

                                                                                  Certificate Number:             Amendment No:
                                                                                      HCL-17-807                     H320-01

 Issued to: University of Southern California
 Effective Date: 07/01/17 at 12:01 a.m.         Expiration Date: 07/01/18 at 12:01 a.m.      Additional Contribution: Per Contract

It is hereby understood and agreed that Section 1.8 is deleted in its entirety and replaced with the following:

  8. Covered Locations means:

    A. any location identified in the Certificate of Participation or by amendment; or
    B. any location in the state of California.

ALL OTHER TERMS, CONDITIONS AND EXCLUSIONS REMAIN UNCHANGED.




                                                                                          Authorized Representative of BETARMA




HCL-H320(07/12)                                                 Page 1                                   Date Issued: July 01, 2017 (Initial)
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                                    BETA Risk Management Authority ("BETARMA")
                                                            A Public Entity

                                              AMENDMENT
                              PROFESSIONAL SERVICES DEFINITION EXTENSION –
                               PRACTICE EXAMINATIONS BY MEDICAL STUDENTS

                                                                                  Certificate Number:             Amendment No:
                                                                                     HCL-17-807                      H336-01

 Issued to: University of Southern California
 Effective Date: 07/01/17 at 12:01 a.m.         Expiration Date: 07/01/18 at 12:01 a.m.      Additional Contribution: Per Contract

It is understood and agreed that Section 1.28 is deleted in its entirety and replaced with the following:

28. Professional Services means:

  A. medical, surgical, dental or nursing or other healthcare services or treatment to a patient, including
custodial care and the furnishing of food or beverages in connection with the treatment;

  B. the furnishing or dispensing of drugs, or medical, dental or surgical supplies or appliances to a patient if
the injury occurs after the Member has relinquished possession thereof;

   C. healthcare research involving a patient, study participant or trial participant if, before the research was
commenced, the Named Member or Subsidiary′s Institutional Review Board cleared the research study or
trial;

  D. the handling or performing of post mortem examinations on human bodies; or

  E. services by any person as a member of the Named Member′s or Subsidiary′s formal accreditation or
similar professional board or committee, or as a person charged with the duty of executing directives of any
such board or committee; or

  F. training practice examinations performed by medical students on actors portraying patients.

ALL OTHER TERMS, CONDITIONS AND EXCLUSIONS REMAIN UNCHANGED.




                                                                                          Authorized Representative of BETARMA




HCL-H336(07/14)                                                 Page 1                                   Date Issued: July 01, 2017 (Initial)
          Case 2:21-cv-01272 Document 1-2 Filed 02/11/21 Page 50 of 75 Page ID #:105
                                    BETA Risk Management Authority ("BETARMA")
                                                            A Public Entity

                                            AMENDMENT
                        AUDIT PROVISIONS – MODIFIED NEW EXPOSURE DEFINITION

                                                                                  Certificate Number:            Amendment No:
                                                                                      HCL-17-807                    H337-01

 Issued to: University of Southern California
 Effective Date: 07/01/17 at 12:01 a.m.         Expiration Date: 07/01/18 at 12:01 a.m.   Additional Contribution: Per Contract

It is understood and agreed that Section 7.9.A is deleted in its entirety and replace with the following:

9. PAYMENTS REQUIRED FROM MEMBERS AND RIGHT TO AUDIT

A. Contribution.

  The Named Member shall pay a Contribution based on the estimated exposure that are calculated from the
reported census the Named Member provided to BETARMA on or before the beginning of the Contract
Period. BETARMA shall inform the Named Member of its Contribution for the Contract Period and
installment Contribution. The Named Member shall pay each Contribution in full on or before the due date
shown on the invoice.

  If BETARMA does not receive the full installment Contribution by the late date shown of the invoice, a
penalty equal to five percent (5%) of the original installment Contribution due shall be added to the
Contribution. A 10-Day Notice of Cancellation shall be mailed to the Named Member on the first business
day after the late date canceling coverage if BETARMA does not receive the full installment Contribution,
including the five percent (5%) penalty, by the cancellation date stated on the 10-Day Notice of Cancellation
("10-Day" shall equal ten (10) calendar days). An additional penalty equal to five percent (5%) of the original
monthly Contribution due will be charged to reinstate coverage, if BETARMA elects in its sole, absolute and
unreviewable discretion, to reinstate coverage. The entire Contribution due to BETARMA, including all
penalties, must be received before coverage will be reinstated.

  The Named Member must promptly report any exposure increases due to New Exposures during the course
of the Contract Period. New Exposures shall mean an addition of a new location, or a new service. If
BETARMA determines that a New Exposure materially changes Ratable Exposures, BETARMA will invoice the
Named Member for the additional Contribution for coverage of the New Exposure. Ratable exposures
include but not be limited to exposure data reported by the Named Member on the census report form.

  If Ratable Exposures materially change due to closure of a location or discontinuation of a service, the
Named Member may receive a Contribution adjustment, subject to the BETARMA Underwriting Department′s
approval.

  At any time until sixty (60) calendar days after the Expiration Date of this Contract, the Named Member
may make written request to BETARMA for adjustment of the Contribution based on the Named Member′s
audit of the exposure data. At any time until sixty (60) calendar days after the Expiration Date, BETARMA may
audit the exposure data submitted to BETARMA and make adjustments to the Contribution. If the Named
Member fails to disclose or misrepresents exposure data provided to BETARMA, BETARMA may audit prior
years. If the Named Member fails to pay additional amounts invoiced by the due date of the invoice,
BETARMA may cancel any BETARMA Coverage Contracts then in effect with ten (10) calendar days′ written
notice.
HCL-H337(07/15)                                                 Page 1                                  Date Issued: July 01, 2017 (Initial)
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                                    BETA Risk Management Authority ("BETARMA")
                                                            A Public Entity

                                            AMENDMENT
                        AUDIT PROVISIONS – MODIFIED NEW EXPOSURE DEFINITION

                                                                                  Certificate Number:             Amendment No:
                                                                                      HCL-17-807                     H337-01

 Issued to: University of Southern California
 Effective Date: 07/01/17 at 12:01 a.m.         Expiration Date: 07/01/18 at 12:01 a.m.      Additional Contribution: Per Contract


If the Named Member terminates this Contract at any time prior to the Expiration Date, earned Contribution
shall be computed in accordance with the customary short rate table and procedure.

ALL OTHER TERMS, CONDITIONS AND EXCLUSIONS REMAIN UNCHANGED.




                                                                                          Authorized Representative of BETARMA




HCL-H337(07/15)                                                 Page 2                                   Date Issued: July 01, 2017 (Initial)
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                                    BETA Risk Management Authority ("BETARMA")
                                                            A Public Entity

                                            AMENDMENT
                          USC CARE MEDICAL GROUP'S OBLIGATION TO INDEMNIFY
                                     HEALTHCARE PROFESSIONALS

                                                                                  Certificate Number:             Amendment No:
                                                                                     HCL-17-807                      H346-01

 Issued to: University of Southern California
 Effective Date: 07/01/17 at 12:01 a.m.         Expiration Date: 07/01/18 at 12:01 a.m.      Additional Contribution: Per Contract

It is understood and agreed that Exclusion 1 shall not apply to any Contractual Obligation of the Named
Member to defend or indemnify a Healthcare Professional for those sums which the Healthcare Professional
is legally required to pay as damages for Claims arising out of his or her negligence in rendering or failing to
render Professional Services before July 1, 2009 within the course and scope of the Healthcare Professionals.
duties to a Subsidiary listed on the attached Schedule.

The following definitions apply to this Amendment:

1. "Contractual Obligation" means the Named Member′s obligation pursuant to the indemnification
provisions of an agreement pursuant to which a Healthcare Professional became an employee of the Named
Member effective on or about July 1, 2009.

2. "Healthcare Professionals" means a licensed healthcare professional who was affiliated with a Subsidiary
listed on the attached Schedule before July 1, 2009.

ALL OTHER TERMS, CONDITIONS AND EXCLUSIONS REMAIN UNCHANGED.




                                                                                          Authorized Representative of BETARMA




HCL-H346(07/12)                                                 Page 1                                   Date Issued: July 01, 2017 (Initial)
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                                           BETA Risk Management Authority ("BETARMA")
                                                                A Public Entity

                                                AMENDMENT
                              USC CARE MEDICAL GROUP'S OBLIGATION TO INDEMNIFY
                                         HEALTHCARE PROFESSIONALS

                                                                                      Certificate Number:            Amendment No:
                                                                                         HCL-17-807                     H346-01

 Issued to: University of Southern California
 Effective Date: 07/01/17 at 12:01 a.m.             Expiration Date: 07/01/18 at 12:01 a.m.   Additional Contribution: Per Contract


                                                                                                                    Retro           Cancel
 Name                                                                                                               Date             Date

 Doheny Eye Centers                                                                                             04/01/05         7/1/2009


 Doheny Eye Medical Group                                                                                       01/01/79         7/1/2009


 Doheny Laser Vision Center                                                                                     04/01/05         7/1/2009


 Doheny Retina Center                                                                                           11/01/06         7/1/2009


 Integrated Faculty Practice Plans, Inc.                                                                        07/01/09


 U.S.C.A.N.                                                                                                     07/01/79         7/1/2009


 University Internists Medical Group                                                                            07/01/79         7/1/2009


 University Internists Medical Group II                                                                         07/01/79         7/1/2009


 University Neurologist                                                                                         07/01/79         7/1/2009


 University Pathology Associates, Inc.                                                                          07/01/79         7/1/2009


 University Radiation Oncology Associates, Inc.                                                                 10/26/92         7/1/2009


 University Radiology Oncology Associates, Inc.                                                                 07/01/79         7/1/2009


 University Southern California Urological Associates, Inc.                                                     07/01/79         7/1/2009


 USC Advanced Bioimaging Associates, Inc.                                                                       10/26/92         7/1/2009


 USC Cardiothoracic Surgeons, Inc.                                                                              07/01/98         7/1/2009


 USC Care Medical Non-Contracted, LLC                                                                           07/01/09


 USC Colorectal Surgeons, Inc.                                                                                  08/01/03         7/1/2009


 USC Emergency Medicine Associates, Inc.                                                                        10/26/92         7/1/2009




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                                         BETA Risk Management Authority ("BETARMA")
                                                               A Public Entity

                                               AMENDMENT
                             USC CARE MEDICAL GROUP'S OBLIGATION TO INDEMNIFY
                                        HEALTHCARE PROFESSIONALS

                                                                                     Certificate Number:            Amendment No:
                                                                                        HCL-17-807                     H346-01

 Issued to: University of Southern California
 Effective Date: 07/01/17 at 12:01 a.m.            Expiration Date: 07/01/18 at 12:01 a.m.   Additional Contribution: Per Contract


                                                                                                                   Retro           Cancel
 Name                                                                                                              Date             Date

 USC Emergency Physicians                                                                                      07/01/79         7/1/2009


 USC Family Medicine, Inc.                                                                                     10/26/92         7/1/2009


 USC Fertility                                                                                                 07/01/05         7/1/2009


 USC Gynecologic Oncology Associates                                                                           01/01/06         7/1/2009


 USC Head & Neck Associates Medical Group, Inc.                                                                07/01/79         7/1/2009


 USC Head & Neck Group, Inc.                                                                                   05/01/93         7/1/2009


 USC Imaging Associates                                                                                        10/26/92         7/1/2009


 USC Internal Medicine, Inc.                                                                                   10/26/92         7/1/2009


 USC Neurosurgeons, Inc.                                                                                       10/26/92         7/1/2009


 USC Neurosurgical Medical Group                                                                               07/01/79         7/1/2009


 USC OB-GYN, Inc.                                                                                              07/01/05         7/1/2009


 USC Obstetricians and Gynecologists, Inc.                                                                     04/01/93         7/1/2009


 USC Obstetrics and Gynecology Associates                                                                      07/01/79         7/1/2009


 USC Occupational Therapy Faculty Practice, Inc.                                                               09/01/86         1/1/2017


 USC Orthopedic Medical Group                                                                                  07/01/79         7/1/2009


 USC Orthopedic Surgery Associates, Inc.                                                                       07/29/91         7/1/2009


 USC Perinatal Group                                                                                           07/01/05         7/1/2009


 USC Physical Therapy Associates, Inc.                                                                         09/01/86         1/1/2017




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                                        BETA Risk Management Authority ("BETARMA")
                                                                 A Public Entity

                                              AMENDMENT
                            USC CARE MEDICAL GROUP'S OBLIGATION TO INDEMNIFY
                                       HEALTHCARE PROFESSIONALS

                                                                                       Certificate Number:            Amendment No:
                                                                                          HCL-17-807                     H346-01

 Issued to: University of Southern California
 Effective Date: 07/01/17 at 12:01 a.m.              Expiration Date: 07/01/18 at 12:01 a.m.   Additional Contribution: Per Contract


                                                                                                                     Retro           Cancel
 Name                                                                                                                Date             Date

 USC Psychiatric & Behavioral Science Assoc., Inc.                                                               07/01/79         7/1/2009


 USC Psychiatry & Psychology Associates, Inc.                                                                    10/26/92         7/1/2009


 USC Radiation Oncology Associates, Inc.                                                                         06/01/93         7/1/2009


 USC Radiology Associates, Inc.                                                                                  07/01/79         7/1/2009


 USC Refractive Surgery Medical Associates                                                                       07/01/96         7/1/2009


 USC Surgeons, Inc.                                                                                              10/26/92         7/1/2009


 USC Surgical Associates Medical Group                                                                           07/01/79         7/1/2009


 USC Urological Associates, Inc.                                                                                 07/01/85         7/1/2009


 USCAN Anesthesiology Medical Group, Inc.                                                                        10/26/92         7/1/2009


 USCP Medical Faculty Practice Groups                                                                            10/26/92         7/1/2009




HCL-H346(07/12)                                                      Page 4                                  Date Issued: July 01, 2017 (Initial)
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                                    BETA Risk Management Authority ("BETARMA")
                                                            A Public Entity

                                             AMENDMENT
                             SECTION 2 COVERAGE FOR OUTSIDE OF CALIFORNIA

                                                                                  Certificate Number:             Amendment No:
                                                                                      HCL-17-807                     H362-01

 Issued to: University of Southern California
 Effective Date: 07/01/17 at 12:01 a.m.         Expiration Date: 07/01/18 at 12:01 a.m.      Additional Contribution: Per Contract

1. Section 2 (Healthcare Entity Professional Liability) only is extended to all USC healthcare providers except
 for the USC Care Medical Group physicians, while rendering or failing to render Professional Services
outside of California, ("Member") under Section 7.1 of the Contract, but only with respect to the Member′s
legal liability when acting within the course and scope of his or her duties to the Named Member or
Subsidiaries.

2. Coverage under this Amendment will apply anywhere in the world, provided a Claim or suit is brought
within the United States of America, its territories or possessions, Puerto Rico or Canada. BETARMA shall
have the right but not the obligation to investigate, settle or defend Claims or suits brought outside of the
United States of America, its territories or possessions, Puerto Rico or Canada.

3. It is further understood and agreed that the Limits of Liability applicable are $2,000,000 per Claim and
$6,000,000 in the aggregate, unless otherwise required to comply with state statue, on an individual basis for
each Healthcare Provider and are within, and not in addition to, the Limits of Liability stated on the
Certification of Participation.

ALL OTHER TERMS, CONDITIONS AND EXCLUSIONS REMAIN UNCHANGED.




                                                                                          Authorized Representative of BETARMA




HCL-H362(07/15)                                                 Page 1                                   Date Issued: July 01, 2017 (Initial)
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                                    BETA Risk Management Authority ("BETARMA")
                                                            A Public Entity

                                          AMENDMENT
                  COVERAGE FOR USC CARE MEDICAL GROUP, INC. FOR PROFESSIONAL
                                SERVICES OUTSIDE OF CALIFORNIA

                                                                                  Certificate Number:             Amendment No:
                                                                                     HCL-17-807                      H363-01

 Issued to: University of Southern California
 Effective Date: 07/01/17 at 12:01 a.m.         Expiration Date: 07/01/18 at 12:01 a.m.      Additional Contribution: Per Contract

It is understood and agreed as follows:

1. For purposes of Section 2 (Healthcare Entity Professional Liability), the term "Covered Location" includes
any location outside of the state of California where a USC Care Medical Group, Inc. physician Member
renders or fails to render Professional Services as part of his or her work with another institution or
organization, on behalf of the Named Member or a Subsidiary.

2. Coverage under this Amendment applies to a Covered Location anywhere in the world, provided a Claim
or suit is brought within the United States of America, its territories or possessions, Puerto Rico or Canada.
BETARMA shall have the right but not the obligation to investigate, settle or defend Claims or suits brought
outside of the United States of America, its territories or possessions, Puerto Rico or Canada.

3. The coverage that this Amendment provides is excess of any other valid and collectible insurance, whether
such other coverage is stated to be primary, contributory, excess, contingent or otherwise.

ALL OTHER TERMS, CONDITIONS AND EXCLUSIONS REMAIN UNCHANGED.




                                                                                          Authorized Representative of BETARMA




HCL-H363(07/12)                                                 Page 1                                   Date Issued: July 01, 2017 (Initial)
          Case 2:21-cv-01272 Document 1-2 Filed 02/11/21 Page 58 of 75 Page ID #:113
                                    BETA Risk Management Authority ("BETARMA")
                                                            A Public Entity

                                                   AMENDMENT
                                          CONSULTS OUTSIDE OF CALIFORNIA

                                                                                  Certificate Number:             Amendment No:
                                                                                      HCL-17-807                     H364-01

 Issued to: University of Southern California
 Effective Date: 07/01/17 at 12:01 a.m.         Expiration Date: 07/01/18 at 12:01 a.m.      Additional Contribution: Per Contract

It is understood and agreed that coverage afforded under Section 2 of this Contract applies to Professional
Services rendered as part of a telephone conversation or a message using any electronic medium between a
licensed healthcare practitioner covered under this Contract and a patient or other healthcare provider
regardless of the location of the patient or other healthcare provider at the time the Professional Services are
rendered, provided a Claim or suit is brought within the United States of America, its territories or
possessions, Puerto Rico or Canada.

ALL OTHER TERMS, CONDITIONS AND EXCLUSIONS REMAIN UNCHANGED.




                                                                                          Authorized Representative of BETARMA




HCL-H364(07/15)                                                 Page 1                                   Date Issued: July 01, 2017 (Initial)
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                                    BETA Risk Management Authority ("BETARMA")
                                                            A Public Entity

                                           AMENDMENT
                        BLANKET SPECIAL EVENT – PROFESSIONAL LIABILITY ONLY

                                                                                  Certificate Number:             Amendment No:
                                                                                      HCL-17-807                     H373-01

 Issued to: University of Southern California
 Effective Date: 07/01/17 at 12:01 a.m.         Expiration Date: 07/01/18 at 12:01 a.m.      Additional Contribution: Per Contract

A) It is understood and agreed that the coverage afforded under Section 2 (Healthcare Entity Professional
Liability) of this Contract is extended to Healthcare Providers as Members, but only with respect to the
Provider′s legal liability when acting within the course and scope of the Provider′s duties to the Named
Member or Subsidiary for Special Events.

B) However, unless approved in advance of the event or activity by BETARMA, coverage afforded by this
Amendment does not apply to Special Event activities that are: 1) not on behalf of the Named Member or
Subsidiary, except for volunteer professional services described in C)(1)c) below, or 2) outside of the State of
California.

C) Additional Definition

  (1) Special Event means: a) health or medical services related activity such as health fair or
community-based health services event that the Named Member or Subsidiary has approved; b) an event or
activity that is usual and customary to the Named Member or Subsidiary′s business; c) volunteer
professional services such as high school level sporting events or recreational summer camps that have been
approved by the Named Member or Subsidiary; d) any event or activity approved by BETARMA in advance
of the event or activity.

ALL OTHER TERMS, CONDITIONS AND EXCLUSIONS REMAIN UNCHANGED.




                                                                                          Authorized Representative of BETARMA




HCL-H373(07/15)                                                 Page 1                                   Date Issued: July 01, 2017 (Initial)
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                                    BETA Risk Management Authority ("BETARMA")
                                                            A Public Entity

                                                      AMENDMENT
                                                COVERED SUBSIDIARIES LIST

                                                                                  Certificate Number:             Amendment No:
                                                                                      HCL-17-807                     H374-01

 Issued to: University of Southern California
 Effective Date: 07/01/17 at 12:01 a.m.         Expiration Date: 07/01/18 at 12:01 a.m.      Additional Contribution: Per Contract

It is understood and agreed that coverage is afforded by this Contract to the following Subsidiaries:

 Health Research Associates, Inc., Keck Hospital of USC, USC Kenneth Norris, Jr. Cancer Hospital, USC
Care Medical Group, Inc., USC Verdugo Hills Hospital, LLC, and USC Verdugo Hills Hospital

ALL OTHER TERMS, CONDITIONS AND EXCLUSIONS REMAIN UNCHANGED.




                                                                                          Authorized Representative of BETARMA




HCL-H374(07/16)                                                 Page 1                                   Date Issued: July 01, 2017 (Initial)
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                                    BETA Risk Management Authority ("BETARMA")
                                                            A Public Entity

                                                   AMENDMENT
                                                 VERDUGO HILLS
                                          PROFESSIONAL LIABILITY CLAIMS

                                                                                  Certificate Number:             Amendment No:
                                                                                     HCL-17-807                      H381-01

 Issued to: University of Southern California
 Effective Date: 07/01/17 at 12:01 a.m.         Expiration Date: 07/01/18 at 12:01 a.m.      Additional Contribution: Per Contract

In consideration of the Contribution set forth on the Certificate of Participation, it is understood and agreed as
follows:

1. Coverage under Section 2 - Healthcare Entity Professional Liability - is extended to:

  a. the following Subsidiaries: Verdugo Hills Health Services, Verdugo Hills Hospital, Verdugo Hills
Support Services Corporation, Verdugo Hills Professional Buildings and Verdugo Hills Hospital Foundation
(collectively "Verdugo Hills"); and

 b. the Named Member and Subsidiaries for such liability as they may have as legal successors to Verdugo
Hills.

2. For the purpose of this Amendment only, Section 1.30 is amended to read as follows:

 Retroactive Date is the date specified for each Subsidiary on Amendment H201. No coverage is provided
by this Contract with regard to any act, error or omission occurring prior to the Retroactive Date.

3. The Deductible for Claims based on actual or alleged negligence by Verdugo Hills in rendering or failing to
render Professional Services before July 16, 2013, shall be $100,000 per Claim, indemnity and expense,
subject to the Annual Aggregate specified in the Certificate of Participation. The Deductible for all other
Claims shall be as specified in the Certificate of Participation.

4. This Amendment shall not increase the Limits of Liability specified in the Certificate of Participation or any
other amendment.

ALL OTHER TERMS, CONDITIONS AND EXCLUSIONS REMAIN UNCHANGED.




                                                                                          Authorized Representative of BETARMA




HCL-H381(07/13)                                                 Page 1                                   Date Issued: July 01, 2017 (Initial)
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                                    BETA Risk Management Authority ("BETARMA")
                                                            A Public Entity

                                       AMENDMENT
             ADDITIONAL MEMBER – USC VERDUGO HILLS HOSPITAL EMERGENCY ROOM
              ON-CALL PHYSICIANS AND VOLUNTEER EMERGENCY ROOM PHYSICIANS

                                                                                  Certificate Number:             Amendment No:
                                                                                     HCL-17-807                      H386-01

 Issued to: University of Southern California
 Effective Date: 07/01/17 at 12:01 a.m.         Expiration Date: 07/01/18 at 12:01 a.m.      Additional Contribution: Per Contract

It is understood and agreed as follows:

1. Coverage is extended under Section 2 (Healthcare Entity Professional Liability) only to certain USC
Verdugo Hills Hospital′s emergency room on-call physicians or volunteer emergency room physicians as a
Member, but only with respect to the following:

  (a) the Member′s legal liability when acting within the scope of the Member′s duties of providing
emergency room services at USC Verdugo Hills Hospital, to other than the Member′s own private patients,
commencing with an initial emergency room visit and any subsequent hospital admission including
subsequent surgical or delivery procedures and/or in-hospital follow-up care deemed necessary, resulting from
and limited to the medical condition which initiated such initial emergency room visit;
  (b) coverage does not extend to out-of hospital treatment or telephone only consultation unless such
consultation is first preceded by an actual in-hospital emergency treatment of the patient by such Member;
and
  (c) coverage applies only to any Member directed by the Named Member or Subsidiary to perform such
services.

2. As a condition of such coverage, the patient medical record must include the following minimum
information:

  (a) Name of the Member for whom coverage is to be extended;
  (b) Admitting diagnosis; and
  (c) Documentation of medical procedures performed

3. It is further understood and agreed that the Member′s Limit of Liability is $1,000,000 per Claim and
$3,000,000 in the aggregate for all Claims first made against the Member during the Contract Period and
reported to BETARMA in accordance with the terms of this Contract. The Limits of Liability are within and not
in addition to the per Claim and aggregate Limit of Liability stated on the Certificate of Participation.

4. The coverage provided by this amendment should be deemed primary to any other insurance available to
the Member. No coverage is extended under any other amendments or sections of this Contract.

ALL OTHER TERMS, CONDITIONS AND EXCLUSIONS REMAIN UNCHANGED.




                                                                                          Authorized Representative of BETARMA
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                                    BETA Risk Management Authority ("BETARMA")
                                                            A Public Entity

                                       AMENDMENT
            UNIVERSITY OF SOUTHERN CALIFORNIA REIMBURSEMENT OF LEGAL EXPENSE
                FOR LICENSING OR REGULATORY BOARD OR AGENCY PROCEEDINGS

                                                                                  Certificate Number:            Amendment No:
                                                                                     HCL-17-807                     H432-01

 Issued to: University of Southern California
 Effective Date: 07/01/17 at 12:01 a.m.         Expiration Date: 07/01/18 at 12:01 a.m.   Additional Contribution: Per Contract

THIS AMENDMENT PROVIDES FOR REIMBURSEMENT OF LEGAL EXPENSE ONLY, ON A
CLAIMS MADE AND REPORTED BASIS, RESULTING FROM A COVERED EVENT FIRST
INSTITUTED AGAINST THE MEMBER DURING THE CONTRACT PERIOD AND REPORTED
TO BETARMA NO LATER THAN THIRTY (30) CALENDAR DAYS AFTER THE TERMINATION
OF THE CONTRACT PERIOD. THE COVERED EVENT MUST RESULT FROM ACTS THAT
TAKE PLACE ON OR AFTER THE INDIVIDUAL MEMBER′S RETROACTIVE DATE AND
BEFORE THE TERMINATION DATE OF THIS CONTRACT. PLEASE READ THIS
AMENDMENT CAREFULLY.

(Please note that terms in boldface are defined in Section F below or in Section 1 of the Contract. If there is a
conflict between this Amendment and the Contract, the terms and conditions stated in this Amendment shall
apply to the benefit provided by this Amendment.)

A. BETARMA′S Basic Obligation: Legal Expense that BETARMA Will Reimburse is Subject to the
Self-Insured Retention Stated in Section D Below, Unless Excluded Under Section B Below.

BETARMA will reimburse each Member for Legal Expense incurred to defend a Covered Event arising out
of the Individual Member′s Professional Services rendered on behalf of the Named Member or Subsidiary
on or after the Member′s Retroactive Date. This Amendment applies only to Covered Events that are first
instituted against the Member during the Contract Period and are reported in writing to BETARMA as soon as
possible, and in no event later than thirty (30) calendar days after the termination of the Contract Period.

B. EXCLUSIONS

The Legal Expense reimbursement provided by this Amendment does not apply to:

 (1) Any Covered Event which arises out of any act, omission, circumstance or event occurring prior to the
Effective Date of this Amendment, if:

   (a) On or before that date the Member was aware, or could have reasonably foreseen that the act,
omission, circumstance or event could give rise to a Covered Event; and

   (b) BETARMA was not notified that the act, omission, circumstance or event could give rise to a Covered
Event, in writing, prior to the Effective Date of this Amendment.

  (2) Any Covered Event solely involving actual or alleged:

    (a) Fraud involving medical benefit billing or willful non-compliance with Medi-Cal, Medicaid, Medicare
or any similar statutes, regulations, or procedures. Medical benefit billing includes presenting or causing or
HCL-H432(07/15)                                                 Page 1                                  Date Issued: July 01, 2017 (Initial)
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                                    BETA Risk Management Authority ("BETARMA")
                                                            A Public Entity

                                       AMENDMENT
            UNIVERSITY OF SOUTHERN CALIFORNIA REIMBURSEMENT OF LEGAL EXPENSE
                FOR LICENSING OR REGULATORY BOARD OR AGENCY PROCEEDINGS

                                                                                  Certificate Number:            Amendment No:
                                                                                     HCL-17-807                     H432-01

 Issued to: University of Southern California
 Effective Date: 07/01/17 at 12:01 a.m.         Expiration Date: 07/01/18 at 12:01 a.m.   Additional Contribution: Per Contract

allowing to be presented to a government health benefit payor or program any claim or document seeking
payment or reimbursement for Professional Services;

    (b) The timely completion of medical records; or

    (c) Any application for initial placement on a medical staff.

  (3) Any administrative or judicial proceeding convened to weigh the merits of a Claim by a third party for
compensation arising out of injury or damage alleged to have been caused or contributed to by the Member.

  (4) Any criminal action or proceeding against a Member. A criminal action or proceeding means any
governmental action or proceeding for enforcement of criminal laws, including offenses for which conviction
could result in imprisonment or fines.

 (5) Any Covered Event conducted solely to determine the Member′s entitlement to any fee or charge,
whether paid or unpaid.

  (6) Any Covered Event which arises out of the payment for services rendered to patients or the refund
thereof, with respect to approval of admissions to a healthcare facility.

  (7) The payment of any fines, recoupments, civil penalties, compensatory, punitive or exemplary damages,
trebled damages or any other award or relief .

C. CONDUCT OF DEFENSE

  (1) BETARMA shall have no obligation to defend a Member in a Covered Event. The Member shall have
the sole duty to defend a Covered Event and the sole right to select legal counsel. The Member hereby agrees
to:

    (a) Consult with BETARMA with respect to the selection of such counsel;

    (b) Employ counsel only under reasonable fee arrangements;

   (c) Direct such counsel to furnish periodic status reports to BETARMA with respect to the defense of the
Covered Event;

    (d) Furnish BETARMA with reasonable documentation of all Legal Expense; and

    (e) Direct defense counsel to comply with all applicable provisions of BETARMA′S Litigation Management
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                                    BETA Risk Management Authority ("BETARMA")
                                                            A Public Entity

                                       AMENDMENT
            UNIVERSITY OF SOUTHERN CALIFORNIA REIMBURSEMENT OF LEGAL EXPENSE
                FOR LICENSING OR REGULATORY BOARD OR AGENCY PROCEEDINGS

                                                                                  Certificate Number:            Amendment No:
                                                                                     HCL-17-807                     H432-01

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Guidelines and to obtain such compliance by defense counsel.

  (2) BETARMA′S obligation to reimburse Legal Expense for a Covered Event shall commence at such time
as BETARMA receives written notification of the Covered Event from the Named Member, subject to
satisfactory compliance with Section C. BETARMA shall have no obligation to reimburse Legal Expense
incurred by the Member prior to such notification.

 (3) BETARMA shall reimburse Legal Expense up to the maximum limit upon satisfactory proof of payment
by the Member.

D. LEGAL EXPENSE LIMITS OF THIS AMENDMENT

The maximum Legal Expense reimbursable is $25,000 per Covered Event subject to a $1,000 per Covered
Event self -insured retentions, regardless of the number of acts, omissions or incidents alleged in a Covered
Event; provided, however, that in no event shall BETARMA′S obligation for Legal Expense in all Covered
Events first reported to BETARMA during this Contract Period exceed $25,000 in the aggregate per Member
or $500,000 in the aggregate for all Members.

Self-insured retentions paid by the Member are included as part of, and are not in addition to, the
reimbursable Legal Expense per Covered Event.

The per-Covered Event reimbursable Legal Expense under this benefit shall apply separately to each
individual Member.

E. FALSE OR FRAUDULENT CLAIMS

If a Member commits fraud in reporting or submitting any Covered Event or request for reimbursement,
regarding the amount thereof or otherwise, this Contract shall be void for that Member.

F. ADDITIONAL DEFINITIONS

  (1) Covered Event means a notice of investigation, an initial letter of inquiry or an administrative or
judicial proceeding instituted by a government body responsible for licensure, regulation and professional
discipline of physicians and other healthcare providers to examine allegations of:

     (a) Improper professional conduct or competence in rendering or failing to render Professional Services;
or
    (b) The performance of Professional Services in violation of recognized standards of practice or
established guidelines for the appropriate utilization of such services.
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                                    BETA Risk Management Authority ("BETARMA")
                                                            A Public Entity

                                       AMENDMENT
            UNIVERSITY OF SOUTHERN CALIFORNIA REIMBURSEMENT OF LEGAL EXPENSE
                FOR LICENSING OR REGULATORY BOARD OR AGENCY PROCEEDINGS

                                                                                  Certificate Number:             Amendment No:
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Covered Event is considered to have been instituted at the time the Member receives a notice of
investigation, an initial letter of inquiry or a notice of an administrative or judicial proceeding from one of the
agencies specified in Section F. Additional Definitions, (1) above.

All proceedings, including any appeals, arising from the same or substantially similar or causally or logically
related incidents or events shall be considered one Covered Event, regardless of the number of patients,
complainants, boards, departments, agencies, or claimants involved.

  (2) Legal Expense means the fees and expenses for legal services actually rendered by a licensed attorney or
law firm engaged to prepare and conduct the defense of a Covered Event. It does not include any fine,
penalty, award or judgment levied against the Member, or any fee or expense exceeding the reasonable and
customary charges for similar legal services.

  (3) For purposes of this Amendment only, the definition of Member in Section 7.1.A is amended to include
the following:

    (11) any individual who previously qualified as a Member under clauses (1) through (8) above prior to the
termination of his or her relationship with the Named Member or Subsidiary, but only for Covered Events
alleging or resulting from his or her acts or omissions occurring prior to the termination of the relationship
specified in those subsections.

   (12) any USC Care Medical Group healthcare provider when rendering Professional Services at Los
Angeles County Hospital, subject to the requirements of Section 7.1.A.

ALL OTHER TERMS, CONDITIONS AND EXCLUSIONS REMAIN UNCHANGED.




                                                                                          Authorized Representative of BETARMA




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                                    BETA Risk Management Authority ("BETARMA")
                                                            A Public Entity

                                          AMENDMENT
                        PRODUCTS DEVELOPED THROUGH HEALTHCARE RESEARCH

                                                                                  Certificate Number:            Amendment No:
                                                                                      HCL-17-807                    H437-01

 Issued to: University of Southern California
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It is understood and agreed that Exclusion 23 is deleted and is replaced by the following:

Except as provided in this Amendment, this Contract does not apply to any Claim that, directly or indirectly
or in whole or in part, arises out of any Product developed or created through healthcare research conducted
by any Member. However, this exclusion shall not apply to professional liability allegations made against a
Member arising out of the Member′s care or treatment of a patient when the care or treatment includes
utilization of a Product that was developed or created through healthcare research conducted by that Member
or another Member. BETARMA will provide coverage for such professional liability allegations to the extent
provided in Section 2 - Healthcare Entity Professional Liability - and subject to provisions of this Amendment
and the other conditions and exclusions of this Contract.

If a Claim contains both professional liability and products liability allegations, then, notwithstanding any
other provision of this Contract, BETARMA shall have no obligation to defend the Claim. Instead, BETARMA
shall be obligated to pay only that portion of the total amount of damages, settlements, Defense Expenses and
other costs and expenses (collectively "Loss") excess of the Deductible, incurred directly because of covered
professional liability allegations that do not arise out of or relate to the Product ("Covered Loss"). The
Named Member, and not BETARMA, shall be responsible for the balance of the Loss. The Named Member
and BETARMA shall use their best efforts to agree on a fair and proper allocation of Covered Loss and Loss for
which the Named Member is responsible.

Example: A USC physician covered by this Contract participates in developing a hip replacement device, and
the physician also subsequently performs a procedure in which the device is implanted into the body of a
patient. The hip replacement fails, which causes the patient to suffer bodily injury. If the patient brings a
Claim asserting both professional negligence and products liability resulting in bodily injury, this Contract
will apply to the Covered Loss only. BETARMA and the Named Member will use their best efforts to make a
 fair and proper allocation of Covered Loss and the Loss for which the Named Member is responsible.

If the Named Member and BETARMA cannot agree upon such an allocation:

  1. BETARMA shall advance on a current basis Defense Expenses which BETARMA believes to be covered
under this Contract until a different allocation is negotiated or determined by arbitration;

  2. The Member and BETARMA shall submit the dispute to final and binding arbitration pursuant to the
provisions of this Contract, except that, in the interest of quickly and efficiently resolving the dispute,
completion of BETARMA′s internal dispute resolution process shall not be required and the arbitration shall be
before a single arbitrator chosen by BETARMA and the Named Member; and

  3. No presumption as to allocation shall exist in any arbitration.

Any negotiated or arbitrated allocation of Defense Expenses on account of a Claim shall be applied
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                                    BETA Risk Management Authority ("BETARMA")
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                                          AMENDMENT
                        PRODUCTS DEVELOPED THROUGH HEALTHCARE RESEARCH

                                                                                  Certificate Number:             Amendment No:
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retroactively to all Defense Expenses on account of that Claim, notwithstanding any previous advancement
made on a different basis. Any allocation or advancement of Defense Expenses on account of a Claim shall
not create any presumption with respect to the allocation of other Loss on account of the Claim.

ALL OTHER TERMS, CONDITIONS AND EXCLUSIONS REMAIN UNCHANGED.




                                                                                          Authorized Representative of BETARMA




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                                    BETA Risk Management Authority ("BETARMA")
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                                              AMENDMENT
                                 CONTINUOUS COVERAGE FOR DEPARTED SLOTS

                                                                                  Certificate Number:            Amendment No:
                                                                                      HCL-17-807                    H438-01

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It is agreed and understood that coverage afforded by this contract is extended to:

  1. The Health Care Providers listed on the schedules attached to the H305 Amendments listed below, as
Member(s), as defined in Section 7.1, "Who is Protected Under This Contract," but only with respect to the
Provider′s legal liability when acting within the course and scope of the Provider.s duties to the Named
Member or Subsidiary during the period set forth and only to the extent the Named Member or Subsidiary
is permitted or required by law to indemnify the Provider.

  2. The Limits of Liability for each H305 Amendment slot will be $1,000,000 per Claim and $3,000,000 in
the aggregate. Each H305 Amendment slot limit will be shared by all the applicable Providers listed on the
corresponding slot schedule attached to each H305 Amendment listed below. Each H305 Amendment slot
limit is in addition to, the Limits of Liability stated on the Certificate of Participation. However, for all acts,
errors and omissions of a Provider when acting in a capacity specified in Section 7.1.A(1),(3),(4),(5) and (6) of
this Contract, the Limits of Liability stated on the Certificate of Participation shall apply.

  3. Except for the Health Care Providers under the Member′s Slot Coverage to whom coverage extended by
any other provisions of the Contract, including any other amendment to the Contract.

  4. It is further agreed and understood that if this Contract is terminated, all coverage for the Member(s)
listed on Amendment No. H305 will cease unless the Named Member purchases an Extended Reporting
Period in accordance with Section 7.20 . Limited Right to Extended Reporting Period.




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                                    BETA Risk Management Authority ("BETARMA")
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                                              AMENDMENT
                                 CONTINUOUS COVERAGE FOR DEPARTED SLOTS

                                                                                  Certificate Number:             Amendment No:
                                                                                      HCL-17-807                     H438-01

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  Slot Department/Name                                                   HCL-14-807             Retroactive       Termination
                                                                         Amendment No.          Date              Date
  CVTI Cardiology - Fellow Slot #1                                       H305-01                12/01/06          07/01/15
  Endocrinology - Fellow Slot #1                                         H305-02                04/01/07          07/01/15
  Plastic Surgery - Resident Slot #1                                     H305-03                07/01/01          07/01/15
  Colon Rectal Surgery - Resident Slot #1                                H305-06                11/01/02          07/01/15
  Reproductive Endocrinology - Fellow Slot #1                            H305-07                07/01/01          07/01/15
  M aternal Fetal M edicine - Fellow Slot #2                             H305-08                07/01/04          07/01/15
  Dermatology - Resident Slot #1                                         H305-09                03/01/05          07/01/15
  Breast Surgery - Fellow Slot #1                                        H305-10                07/01/06          07/01/15
  Diagnostic & Interventional Radiology - Fellow Slot #1                 H305-11                07/01/05          07/01/15
  Diagnostic & Interventional Radiology - Fellow Slot #2                 H305-12                07/01/07          07/01/15
  Vascular & Interventional Radiology - Fellow Slot #4                   H305-13                07/01/02          07/01/15
  Diagnostic Radiology - Resident Slot #5                                H305-15                07/01/03          07/01/15
  Evaluation & Treatment Center - Faculty Slot                           H305-16                03/01/05          12/01/06
  Rheumatology - Fellow Slot                                             H305-17                07/01/07          07/01/15
  Psychiatry - Resident Slot                                             H305-18                11/13/07          07/01/15
  Plastic Surgery - Resident Slot #2                                     H305-19                01/10/05          07/01/07
  Anesthesiology - Resident Slot                                         H305-20                07/01/10          07/01/15
  Nephrology - Fellow Slot                                               H305-21                07/01/91          07/01/15
  Urology - Resident Slot                                                H305-22                11/19/13          07/01/15




ALL OTHER TERMS, CONDITIONS AND EXCLUSIONS REMAIN UNCHANGED.




                                                                                          Authorized Representative of BETARMA




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                                    BETA Risk Management Authority ("BETARMA")
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                                          AMENDMENT
                    CLAIMS AGAINST INDIVIDUAL PROVIDERS AND CLAIMS AGAINST
                  NAMED MEMBER OR SUBSIDIARY BASED ON SAME OR RELATED ACTS

                                                                                  Certificate Number:             Amendment No:
                                                                                     HCL-17-807                      H441-01

 Issued to: University of Southern California
 Effective Date: 07/01/17 at 12:01 a.m.         Expiration Date: 07/01/18 at 12:01 a.m.      Additional Contribution: Per Contract

It is understood and agreed as follows:

  1. If BETARMA is notified of a Claim against a physician, surgeon or other individual healthcare provider
who is covered under this Contract with Limits of Liability less than the Limits of Liability that apply to the
Named Member or Subsidiary that holds legal responsibility for the acts of the individual provider ("the
Provider"), and in the same Contract Period or a later Contract Period, BETARMA is notified of a Claim
against the Named Member or Subsidiary based on the same acts, errors or omissions or series of related
acts errors or omissions as the Claim against the Provider, the Claim against the Named Member or
Subsidiary shall be deemed to have been made against the Named Member or Subsidiary and reported to
BETARMA on the same date as the Claim against the Provider.

   2. When a Claim to which Section 2–Healthcare Professional Liability–applies is made against a Provider
for acts, errors or omissions within the scope of his or her duties to the Named Member or a Subsidiary, the
Provider′s written notice to BETARMA of the Claim shall be deemed to constitute written notice by the Named
Member or Subsidiary of specific circumstances that may be reasonably expected to give rise to a Claim
against the Named Member or Subsidiary pursuant to Section 1.5.B. of this Contract. If a covered Claim
against a Provider results in a verdict or judgment in excess of the Limits of Liability available to the Provider
under this Contract and the Provider tenders the excess verdict to the Named Member or a Subsidiary, the
Limits of Liability available to the Named Member or Subsidiary under this Contract shall be available for
the Claim, whether or not the Claimant has made a demand for damages against the Named Member or
Subsidiary.

ALL OTHER TERMS, CONDITIONS AND EXCLUSIONS REMAIN UNCHANGED.




                                                                                          Authorized Representative of BETARMA




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                                    BETA Risk Management Authority ("BETARMA")
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                                                     AMENDMENT
                                                TELEMEDICINE ACTIVITIES

                                                                                  Certificate Number:             Amendment No:
                                                                                      HCL-17-807                     H444-01

 Issued to: University of Southern California
 Effective Date: 07/01/17 at 12:01 a.m.         Expiration Date: 07/01/18 at 12:01 a.m.      Additional Contribution: Per Contract

It is understood and agreed as follows:

1. Exclusion 19 is hereby deleted.

2. USC Care Medical Group will require that all healthcare providers secure the approval of University of
Southern California′s Integrated Credentialing Committee before performing any Professional Services
outside the State of California that include Telemedicine activities. University of Southern California′s
Integrated Credentialing Committee will track information relating to healthcare providers′ Professional
Services that include Telemedicine activities outside the State of California and will periodically report that
information to BETARMA.

3. As used in this Amendment, Telemedicine means the use of telecommunication, excluding telephone
communications, to provide medical information or Professional Services.

ALL OTHER TERMS, CONDITIONS AND EXCLUSIONS REMAIN UNCHANGED.




                                                                                          Authorized Representative of BETARMA




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                                    BETA Risk Management Authority ("BETARMA")
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                                           AMENDMENT
                  ADDITIONAL MEMBER - PROFESSIONAL LIABILITY ONLY WITH SUBLIMITS

                                                                                  Certificate Number:             Amendment No:
                                                                                      HCL-17-807                     H447-01

 Issued to: University of Southern California
 Effective Date: 08/07/17 at 12:01 a.m.         Expiration Date: 08/08/17 at 12:01 a.m.      Additional Contribution: Per Contract

1. COVERAGE EXTENSION: It is understood and agreed that coverage under Section 2 (Healthcare Entity
Professional Liability), only, is extended to Venkatersh Ramaiah, M.D., as proctor for Transcarotid Artery
Revascularization procedure, (″Member″) under Section 7.1 of the Contract, but only with respect to the
Member′s legal liability when acting within the course and scope of the Member′s duties to the Named
Member or Subsidiary.

2. LIMITS OF LIABILITY: It is further understood and agreed that the limit of liability for covered Claims
under this Amendment is $1,000,000 per Claim and $3,000,000 in the aggregate. These Limits are within, not
in addition to, the aggregate Limit of Liability stated on the Certificate of Participation.

ALL OTHER TERMS, CONDITIONS AND EXCLUSIONS REMAIN UNCHANGED.




                                                                                          Authorized Representative of BETARMA




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                                        AMENDMENT
                  EXTENDED REPORTING PROVISION APPLICABLE TO USC PHYSICIANS

                                                                                  Certificate Number:            Amendment No:
                                                                                      HCL-17-807                    H452-01

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It is agreed and understood that Section 7 (Provisions Applicable To All Coverages), Item 20 Limited Right
To Extended Reporting Period is amended as following.

F. ADDITIONAL EXTENDED REPORTING PERIOD BENEFITS

a. Waiver of Extended Reporting Period Amendment Contribution in the Event of Disability

(1) If a covered physician becomes totally and permanently disabled during the Contract Period as a result of
bodily injury and is therefore completely unable to continue practicing as a physician or surgeon, BETARMA
will provide the physician with an Extended Reporting Period Amendment without cost. However, BETARMA
must receive a written request from the Named Member that the physician is totally or permanently disabled
for this benefit within ninety (90) calendar days following the physician′s disability effective date.

(2) BETARMA will require the Named Member notify us if at any time in the future he or she resumes
practicing as a physician at the Named Member facility.

b. Waiver of Extended Reporting Period Amendment Contribution in the Event of Death

In the event of a covered physician′s death during the Contract Period an Extended Reporting Period
Amendment will be issued to the physician′s estate without any Contribution charge. This Extended Reporting
Period Amendment will become effective on the date of the physician′s death. However, BETARMA must
receive a written request from the Named Member within ninety (90) calendar days after the physician′s
death.

c. Waiver of Extended Reporting Period Amendment Contribution upon Retirement at Age 55

(1) If during the Contract Period, a covered physician chooses to retire completely from the practice of
medicine, he or she may be eligible for a full waiver of the physician′s Extended Reporting Period
Amendment Contribution. To be eligible the physician must at the time of the requested cancellation date:

    - Have been a Member for at least 12 months with BETARMA;
    - Be at least 55 years of age;
    - Have had professional liability coverage for the previous sixty (60) consecutive months,
      including the last twelve (12) months with BETARMA; and
    - Retire completely from the practice of medicine.

(2) BETARMA must receive a written request for this benefit within ninety (90) days following the physician′s
retirement date. If at any time in the future he or she resumes practicing as a physician to any extent, the
physician will lose the right to this waiver as of the date he or she resumes practice and at such time will have
the right to purchase an additional Extended Reporting Period Amendment upon payment of the full
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                                        AMENDMENT
                  EXTENDED REPORTING PROVISION APPLICABLE TO USC PHYSICIANS

                                                                                  Certificate Number:             Amendment No:
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Contributions.

d. Waiver of Extended Reporting Period Amendment Contribution at Age 65

If during the Contract Period, a covered physician has reached age 65 and has been a Member with
BETARMA for at least sixty (60) consecutive months immediately prior to reaching age 65 or greater, the
physician will receive a full unrestricted waiver of his or her Extended Reporting Period Amendment
Contribution as of the cancellation date.

ALL OTHER TERMS, CONDITIONS AND EXCLUSIONS REMAIN UNCHANGED.




                                                                                          Authorized Representative of BETARMA




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